                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

===============================
                                        :
VIKRAM P. GROVER d/b/a                  :
 “IX ADVISORS” a/k/a “IXA,”             :
                                        :
               Plaintiff,               :
                                        :
               v.                       :
                                        :
NET SAVINGS LINK, INC., a               :
 Colorado corporation and formerly      :
 organized as a Nevada corporation,     :          Civil Action No. 2021-CV-5054
WILTON GROUP, LIMITED, as               :
 registered in the Isle of Man, U.K.,   :
WILTON UK (GROUP), LIMITED, as :
 registered in England and Wales, U.K., :
CHINA FOOD AND BEVERAGE CO., :
 a Colorado corporation,                :
JAMES A. TILTON, and                    :
JOHN DOES 1-100,                        :
                                        :
               Defendants.              :
                                        :
===============================

                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                    I. INTRODUCTION

       1.     The Plaintiff, Vikram P. Grover d/b/a “IX Advisors” a/k/a “IXA” (hereinafter “Mr.

Grover”), respectfully submits his Complaint and Demand for Jury Trial (hereinafter the

“Complaint”) against the Defendants, Net Savings Link, Inc., (hereinafter the “Company” or

“NSAV”), Wilton Group, Limited, as registered in the Isle of Man, the United Kingdom of Great

Britain and Northern Ireland (hereinafter “Wilton-Isle of Man”), Wilton UK (Group), Limited, as

registered in England and Wales, U.K. (hereinafter “Wilton-UK”) (collectively, with Wilton-Isle

of Man, hereinafter as “Wilton”), China Food and Beverage Company (hereinafter “CHIF”), and



                                              1
James A. Tilton (hereinafter “Tilton”), for their violations of law and his injuries arising therefrom.

       2.      The Plaintiff’s allegations, as set out herein, are asserted against the Defendants,

jointly and severally, for specific performance for the issuance of hundreds of millions of NSAV

shares, as due to be delivered to him, and for temporary, preliminary and permanent injunctive and

equitable relief, and for his general, compensatory, consequential and punitive damages, together

with statutory interest, costs and attorney’s fees, arising from, and resulting from, the Defendants’

violations of the following:

                       a)      specific performance for the issuance of Three Hundred – Eighty –
                       Seven Million – Five Hundred Thousand (387,500,000) NSAV shares of
                       Series B stock, convertible into freely tradeable shares of NSAV common
                       stock, to be delivered due to the Plaintiff, and as arising from the breach of
                       contract on the “Binding Change of Control Agreement,” (referenced
                       below), as an intended third-party beneficiary;

                       b)      breach of contract for damages, lost profits and lost opportunity
                       from the failure and refusal of the Defendants to issue the Three Hundred –
                       Eighty – Seven Million – Five Hundred Thousand (387,500,000) NSAV
                       shares of Series B stock, convertible into freely tradeable shares of NSAV
                       common stock, and the $50,000.00 debenture (convertible into 1.25% of
                       NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight
                       Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock,
                       convertible into freely tradeable shares of NSAV common stock), and
                       deliver the same to Mr. Grover, and as arising from the breach of contract
                       on the Plaintiff’s Consulting Agreement (defined below) and the Non-
                       Circumvention Agreement (defined below);

                       c)      breach of contract for damages, lost profits and lost opportunity
                       from the failure and refusal of the Defendants to issuance the Three
                       Hundred – Eighty – Seven Million – Five Hundred Thousand (387,500,000)
                       NSAV shares of Series B stock, convertible into freely tradeable shares of
                       NSAV common stock, and deliver the same to Mr. Grover, and as arising
                       from the breach of contract on the “Binding Change of Control Agreement,”
                       (referenced below) to the benefit of the Plaintiff;

                       d)      breach of implied covenant of good faith and fair dealing as to the
                       Plaintiff’s Consulting Agreement (as defined below), the Non-
                       Circumvention Agreement (defined below) and the “Binding Change of
                       Control Agreement,” (referenced below);



                                                  2
                      e)      unjust enrichment;

                      f)      tortious interference with business and contractual relations, as to
                      the Plaintiff’s Consulting Agreement (defined below) and employment with
                      NSAV;

                      g)      tortious interference with prospective economic advantage with
                      third-parties, including but not limited to Geneva Roth Remark Holdings
                      f/k/a KBM Worldwide a/k/a PowerUp Lending Group (hereinafter
                      “PowerUp”) and others;

                      h)      oral contract - promissory estoppel / detrimental reliance;

                      i)      fraud and deceit;

                      j)      negligent misrepresentation;

                      k)     violation of the Illinois Wage Payment and Collection Act
                      (hereinafter the “IWPCA”), as amended, codified under 820 Illinois
                      Compiled Statutes (hereinafter the “ILCS”) §§ 115/1, et seq.

                      l)    violation of the Illinois Securities Law of 1953, as amended, 815
                      ILCS §§ 5/, et seq.;

                      m)       joint and several liability as “controlling persons,” as provided by
                      the Illinois Securities Law of 1953, as amended, 815 ILSC § 5/2.4;

                      n)     violation of the Illinois Consumer Fraud and Deceptive Business
                      Practices Act, as amended, 815 ILCS §§ 505, et seq.;

                      o)      civil conspiracy; and/or

                      p)      accounting / constructive trust.

       3.      The Plaintiff further alleges that, as a result and as caused by the Defendants’

breaches, actions, omissions, policies, practices, and/or courses of conduct, Mr. Grover has

suffered irreparable harm, requiring injunctive relief and specific performance, harm to his

business and reputation in the investment industry, damages from the Defendants’ coercion,

duress, and unfair and deceptive anti-competitive acts and trade practices, causing lost revenue,

lost profits and prospective business, together with his injuries and damages.



                                                  3
       4.      The Plaintiff respectfully requests that his causes of action against the Defendants

proceed to a trial by jury, that a judgment be entered on all Counts against the Defendants and that

specific performance, on a temporary, preliminary and/or permanent basis, be ordered for the

issuance of Three Hundred – Eighty - Seven Million - Five Hundred Thousand (387,500,000)

shares of Series B stock, convertible into freely tradeable shares of NSAV common stock, and the

$50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares, or

Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B

stock, convertible into freely tradeable shares of NSAV common stock), and that Mr. Grover be

awarded his general, compensatory and consequential damages and losses, together with multiple

and/or punitive damages, and with statutory interest, costs and attorneys’ fees, against the

Defendants, jointly and severally, and that this Honorable Court grant, order and enter such

declaratory and equitable or injunctive relief, and any such other relief as this Court deems just

and appropriate.

                                           II. PARTIES

       5.      The Plaintiff, Vikram P. Grover d/b/a IX Advisors a/k/a IXA, is an individual

residing at 2810 Bristol Drive, Unit No. 309, Lisle, Illinois 60532. At all times relevant hereto, the

Plaintiff is, and was, the Director of Corporate Finance of Defendant Net Savings Link, Inc., and

is, and/or was, employed by NSAV as an officer, director and/or authorized agent. Mr. Grover is

a party and signatory to the Consulting Agreement (defined below) and the Non-Circumvention

Agreement (defined below), and is, and was, an intended third-party beneficiary of the “Binding

Change of Control Agreement,” (referenced below), as executed by the Defendants.

       6.      Upon information and belief, the Defendant, Net Savings Link, Inc., is a Colorado

corporation (Colorado Entity ID No. 20171168922), having its principal place of business located



                                                  4
at 2374 Route 390, Post Office Box 609, Mountainhome, Pennsylvania 18342. At all times

relevant hereto, the Defendant is, and was, a public company, registered with the U.S. Securities

and Exchange Commission (hereinafter the “SEC” or the “Commission”) and the various state

securities regulatory authorities, including, but not limited to and upon information and belief, the

Illinois Securities Division. Upon information and belief, the Defendant is formerly a Nevada

corporation, which, on or about February 28, 2017, converted and domesticated into a Colorado

corporation, by and through its incorporator, Randall Gould, an individual identified as residing at

or about 1333 Sprucewood, Deerfield, Illinois 60015. Upon information and belief, at various

times relevant hereto and until recently, the Defendant, James A. Tilton is, and/or was, the Chief

Executive Officer (hereinafter “CEO”), President, Secretary, Treasurer and/or Director of

Defendant Net Savings Link, Inc.

       7.      Upon information and belief and at all times relevant hereto, the Defendant, Wilton-

Isle of Man, is, and was, an entity registered in the Isle of Man, the United Kingdom of Great

Britain and Northern Ireland (hereinafter the “U.K.”), with a registered number 015996V and with

a registered office at Grosvenor House, 66-67 Athol Street, Douglas, Isle of Man, IM1 1JE, U.K.

Upon information and belief, Wilton-Isle of Man’s Directors currently are M.A. Flanagan, N.M.

Hewson, A.E. Barber, P. Rossier and A. Molloy. Upon information and belief, Wilton-Isle of Man

uses the term “Wilton” as a “trading style.” Upon information and belief, at various times relevant

hereto and until recently, the Defendant, James A. Tilton is, and/or was, officer, director, employee

and/or authorized agent of Defendant Wilton-Isle of Man and/or various entities of the Wilton

Group. (hereinafter Defendants Wilton-Isle of Man, Wilton-UK (defined below), and CHIF

(defined below), collectively as the “Wilton Group.”). Upon information and belief and at various




                                                 5
times relevant hereto, Defendant CHIF is an affiliated company and alter ego of the Defendant

and/or various entities of the Wilton Group.

       8.      Upon information and belief and at all times relevant hereto, the Defendant, Wilton-

UK, is, and was, an entity registered in England and Wales, in the U.K., with a registered number

04179664 and with a registered office at 26 Grosvenor Street, Mayfair, London W1K 4QW, U.K.

Upon information and belief, Wilton-U.K’s Directors currently are M.A. Flanagan, N.M. Hewson,

N.K. Mitchell, J. and Robson D. McHugh. Upon information and belief and at various times

relevant hereto, Defendant CHIF is an affiliated company and alter ego of the Defendant and/or

various entities of the Wilton Group. Upon information and belief, at various times relevant hereto

and until recently, the Defendant, James A. Tilton is, and/or was, officer, director, employee and/or

authorized agent of Defendant Wilton-UK and/or various entities of the Wilton Group.

       9.      Upon information and belief and at all times relevant hereto, China Food and

Beverage Company (hereinafter “CHIF”), is a Colorado corporation (Colorado Entity ID No.

20191953400), having its principal place of business located at 26 Grosvenor Street, Mayfair,

London, England, U.K. W1K 4QW, which is, and was, the same location as the registered office

of Wilton-UK and other entities of the Wilton Group, Limited, including but not limited to the

Hartley Pensions, Limited, Wilton Corporate Finance, Limited, and Wilton Wealth Management,

Limited. Upon information and belief, the Defendant is formerly a Nevada corporation, which, on

or about December 2, 2019, converted and domesticated into a Colorado corporation, by and

through its incorporator, Defendant James A. Tilton, an individual identified as having a mailing

address of 2374 Route 390, Post Office Box 609, Mountainhome, Pennsylvania 18342, which is

the same principal place of business as Defendant NSAV. At all times relevant hereto, the

Defendant is, and was, a public company, registered with the SEC and the various state securities



                                                 6
regulatory authorities, including, but not limited to and upon information and belief, the Illinois

Securities Division. Upon information and belief and at various times relevant hereto, CHIF

identified its principal place of business as located at 2374 Route 390, Post Office Box 609,

Mountainhome, Pennsylvania 18342, which is, and was, the same principal place of business as

Defendant NSAV. Upon information and belief, and at all times relevant hereto, the Defendant’s

accounting and auditing firm is, and was, “Wilton & Partners Ltd. (UK),” which has its principal

place of business and/or its registered office located 26 Grosvenor Street, Mayfair, London,

England, U.K. W1K 4QW, which is, and was, the same location as the registered office of Wilton-

UK and other entities of the Wilton Group, Limited, including but not limited to the Hartley

Pensions, Limited, Wilton Corporate Finance, Limited, and Wilton Wealth Management, Limited.

Upon information and belief and at various times relevant hereto, Defendant CHIF is an affiliated

company and alter ego of Defendants NSAV, Wilton-Isle of Man, Wilton-UK and/or various

entities of the Wilton Group. Upon information and belief, at various times relevant hereto, the

Defendant, James A. Tilton is, and/or was, President, Secretary, officer, director, employee and/or

authorized agent of Defendant CHIF.

       10.     Upon information and belief and at various times relevant hereto, the Defendant,

James A. Tilton (hereinafter “Tilton”), is an individual residing in New York City, New York.

Upon information and belief, at various times relevant hereto and/or until recently, the Defendant,

James A. Tilton is, and/or was, officer, director, employee and/or authorized agent of Defendants

NSAV, CHIF, Wilton-Isle of Man, Wilton-UK and/or various entities of the Wilton Group.

       11.     Upon information and belief and at various times relevant hereto, Defendant John

Does 1 - 100 (hereinafter the “John Does” or the “Does”) were persons, whether entities,

individuals, or their authorized agents, who are liable to the Plaintiff, jointly and severally, and



                                                 7
caused, aided and abetted, and/or participated in or aided the scheme to cause the breach of Mr.

Grover’s Consulting Agreement (defined below), the Non-Circumvention Agreement (defined

below) and the Binding Change of Control Agreement (referenced below), and participated and/or

aided the Defendants and others misrepresentations, omissions of material fact, with a duty of

disclosure, and/or employing deceptive and manipulative devices and contrivances in connection

with the offer, purchase and/or sale and/or delivery of the NSAV securities to him, and to tortiously

interfere (prospectively and with his existing contractual and business relations with NSAV and

PowerUp) and conspired, caused and perpetrated fraudulent and deceptive acts and trade

practices, upon which Mr. Grover relied, and as a result of which he suffered damages the Plaintiff

has suffered irreparable harm, and general, special, and consequential damages, including, but not

limited to, loss of profits, interest, and other damages, injuries, and losses, to his detriment.

                      III. ALTER EGOS AND COMMON ENTERPRISE

       12.     The Defendants have operated as a common enterprise while engaging in the illegal

acts and practices alleged in the Complaint. Defendants Tilton and John Does conducted the

alleged deceptive practices described herein by and through the interrelated network of the various

corporate Defendants, which share a business purpose, business functions, locations, senior

executives and management, and employees; are commonly controlled by the Defendants; and,

upon information and belief, have alleged sought to commingled assets. Because the corporate

Defendants have operated as a common enterprise, each of them is jointly and severally liable for

the acts and practices alleged below. There is such a unity of interest between the corporate

Defendants and Defendants Tilton and John Does that they are alter egos. Upon information and

belief, at various times relevant hereto, the Defendants were, and are, all dominated and controlled

by Defendants Tilton and John Does, and were used to further the deceptive scheme described



                                                   8
herein. As alleged below and together with Defendant Does, Defendant Tilton personally made

representations and omissions of material fact to the Plaintiff, purportedly with actual or apparent

authority of various Wilton entities, upon which Mr. Grover relied, to his detriment. With

Defendant Does, Tilton individually caused the “change of control” of Defendant Net Savings

Link, Inc. by purchasing, in his individual capacity, the controlling stake of NSAV equity from

former NSAV Chief Executive Officer Steven Baritz, and personally caused the breaches of the

Consulting Agreement, to the detriment of the Plaintiff. Defendant Tilton thereafter was

compensated by, and participated in and aided, further transactions between and among NSAV,

CHIF and Wilton entities, to the detriment. The Plaintiff asserts that a failure to disregard the

corporate forms of the various corporate Defendants would sanction a fraud and injustice by

shielding and safeguarding them from liability for their roles in a deceptive scheme that has caused

millions of dollars in damages and injury to the Plaintiff, and would unjustly enrich them by

permitting them to keep such assets and monies, including but not limited to the NSAV shares as

never having been delivered to Mr. Grover and as through the fraudulent scheme, set forth below.

                              IV. JURISDICTION AND VENUE

       13.     The Plaintiff asserts that this Honorable Court has jurisdiction over this action

under 28 U.S.C. § 1332 because the Parties are of complete diversity and the amount in controversy

exceeds $75,000.00.

       14.     The Plaintiff further contends that, pursuant to 28 U.S.C. § 1391(b), venue is proper

in the Northern District of Illinois in that, pursuant to the Agreement (defined below), the Parties

agreed that any and all disputes between and/or among them shall be brought, inter alia, in the

state or federal courts in the State of Illinois. Additionally, this Court is such District where the




                                                 9
Defendant resides, Plaintiff’s incorporator resided, and is where the violative conduct described

herein is alleged to have occurred.

       15.      This Court has personal jurisdiction, generally and specifically, over the Defendant

by express terms of the Agreement, and as arising from their extensive business contacts, generally

over time and specifically in their business dealings with the Plaintiff, within the State of Illinois.

                                 V. FACTUAL BACKGROUND

       A.       The Plaintiff’s Background in the Financial Markets and on Wall Street

       16.      As background, Mr. Grover is a well-accomplished Wall Street analyst, investment

banker and entrepreneur, with a history of accomplishment. The Plaintiff has a track record of

over twenty-five (25) years as a leading thought provider and research analyst in the financial

markets covering the emerging communications provider and technology sectors. As a Chartered

Financial Analyst (C.F.A.), Mr. Grover’s expertise and skills are widely regarded and recognized

in a number of industries, and his specialties included telecommunications, Internet, digital media,

infrastructure services, integrated contractors, CLECs, ITSPs, VoIP, FTTx, collocation, data

centers, hosting, managed services, e-payments, online advertising and marketing, and Internet of

Things (IoT).

       17.      In or about 2006 and after more than a decade on Wall Street, the Plaintiff

transitioned to investment banking and sought to leverage numerous C-Suite relationships across

public and private companies, and with a focus on emerging growth and micro-cap companies.

Mr. Grover then moved to management and financial consulting to assist clients in building their

businesses, and focused upon commercially viable products, a global addressable market,

disruptive to legacy models or technologies, and highly scalable. In short, the Plaintiff has several

years of experience in running and operating technology-oriented public companies.



                                                  10
       B.      Mr. Grover’s Introduction to Net Savings Link, Inc.

       18.     In or about 2015, the Plaintiff was introduced to the Defendant by mutual business

acquaintances in the financial industry, Seth Lapidus (hereinafter “Mr. Lapidus”) and Curt Kramer

(hereinafter “Mr. Kramer”) of Geneva Roth Remark Holdings f/k/a KBM Worldwide a/k/a

PowerUp Lending Group, located on Long Island, New York. Upon information and belief, Mr.

Kramer is currently the Chief Executive Officer (hereinafter “CEO”) of PowerUp and Mr. Lapidus

is currently the Senior Portfolio Manager and Vice-President of Sales, with a demonstrated history

of working in the investment banking industry. Upon information and belief, PowerUp has been a

provider of private capital serving in the bridge capacity for reporting companies which are fully

compliant with the Securities Exchange Act of 1934, as amended, 15 U.S.C. §§ 78a, et seq., OTC

Pink, QB, QX which seek to “up list” to a higher exchange. On further information and belief,

Messrs. Kramer and Lapidus have been recognized for their skills and expertise in corporate

finance, entrepreneurship, venture capital, due diligence, and mergers & acquisitions (hereinafter

“M&A”).

       19.     Thus, in or about the summer of 2015, Mr. Grover was introduced to Steven Baritz,

(hereinafter “Mr. Baritz”), then-CEO of the Company. In or about 2015, the Company was a

Nevada corporation, and had its principal place of business at 4747-20 Nesconset Highway, Port

Jefferson, New York 11776. The Parties entered into negotiations regarding the services and

advice that the Plaintiff was able to provide to NSAV and reached an agreement to engage Mr.

Grover with the Company as the “Director, Corporate Finance.”

       C.      Mr. Grover and NSAV Enter Into the Agreements and the Employment Offer

       20.     As a result of the introductions of Messrs. Lapidus and Kramer, on or about July

28, 2015, the Plaintiff and Defendant NSAV entered into a Non-Circumvent and Non-Disclosure



                                               11
Agreement, (hereinafter the “Non-Circumvention Agreement” or the “NC/NDA”) memorializing

the arrangement of Negotiations, including Non-circumvention, Non-Disclosure, and

Confidentiality between Steven Baritz d/b/a “Net Savings Link, Inc” and Vikram Grover. A true

copy of the Non-Circumvention Agreement between the Plaintiff and the Defendant NSAV is

attached, restated and incorporated by reference herein as Exhibit A. The NC/NDA permitted Mr.

Grover to engage and solicit third-parties, on a confidential basis, in order to negotiate a “Business

Financial Transaction,” to the benefit of Defendant NSAV.

       21.     Thus, the Non-Circumvention Agreement provided, in pertinent part, that:

               “The Parties agree not to disclose, reveal or make use of any information during
               discussion or observation regarding methods, concepts, ideas, products/ services,
               or proposed new products or services, nor to do business with any of the revealed
               contacts without the written consent of the introducing party or parties. This
               includes the security and integrity of the disclosing parties [sic] crucial business
               information, customers, process, and procedures including trade and brand names
               and all copyrighted material.”

Exhibit A, at p.1.

       22.     The NC/NDA also provided a “penalty” provision as protection to the Plaintiff to

ensure that Defendant NSAV did not “circumvent” its obligations to compensate Mr. Grover for

his efforts and network of contacts in the investment community. As a result, the Non-

Circumvention Agreement further provided, in pertinent part, as follows:

               “In case of circumvention …, the Parties agree and guarantee that they will pay a
               legal monetary penalty that is equal to the commission or fee the circumvented
               Party should have realized in such transactions, by the person(s) engaged on the
               circumvention on each occurrence, or the gross revenue realized by the
               circumventing party in each instance[,] whichever is greater. If either party
               commences legal proceedings to interpret or enforce the terms of THIS
               AGREEMENT, the prevailing Party will be entitled to recover court costs and
               reasonable attorney’s fees.”

Exhibit A, at p.2 (emphasis added).

       23.     On or about August 21, 2015, the Parties executed a consulting contract (hereafter


                                                 12
the “Consulting Agreement” or the “Agreement”), memorializing the consulting and advisory

terms and conditions of their business relationship. A true copy of the Agreement between the

Plaintiff and the Defendant is attached, restated and incorporated by reference herein as Exhibit

B.

        24.    The Agreement provides, in pertinent part, that,

               “The purpose of this letter is to confirm the understanding and agreement (the
               ‘Agreement’) between Vikram P. Grover dba ‘IX Advisors’ (‘IXA’) and Net
               Savings Link, Inc. and its subsidiaries and affiliates (‘NSAV’ or the ‘Company’),
               regarding the employment of IXA by the Company as its Director, Corporate
               Finance with a compensation framework set forth herein:….”

Exhibit B, at p.1.

        25.    Pursuant to the contract, Mr. Grover was obligated to use “best efforts” to raise

capital for NSAV. Id.

        26.    Under the Agreement, the Plaintiff agreed to provide services, in pertinent part, as

follows:

               “C)     Merger, Acquisitions & Joint Ventures (‘MA&JV’). As part of its duties,
               IXA will assist management in its discussions with potential MA&JV candidates,
               which may include directly negotiating on the Company’s behalf and rendering
               independent opinions as to valuation and formulae, among other things. As part of
               its duties to assist in an MA&JV transaction, the Company will pay IXA a bonus
               for the amount paid or received in kind (PIK) in any transaction by and between
               the Company, the MA&JV candidate and or the surviving company (the ‘M&A
               Fee’) as follows:

                              -      5% of the first $5 million consideration,
                              -      3% of consideration between $5 - $10 million, and
                              -      1% of any consideration above $10 million.

               Any potential MA&JV candidate introduced by IXA, with which the Company
               enters a closing, will fall under the M&A engagement. This fee shall apply to any
               strategic partnerships and take-private transactions as well.”

Id. at p.3.

        27.    For its part, the Company was further obligated to compensate the Plaintiff, in


                                                13
pertinent part, as follows:

               “B)    Bonus Payments & Expenses. NSAV agrees to pay the following bonuses
               to IXA for its services as follows:

                       1)     Bonuses. For capital raising, compensation will be determined on a
                       case-by-case basis based on industry standards.

                       2)      Strategic Expansion Bonus. 5% of the Company’s fully-diluted
                       shares outstanding, payable on closing of a MA&JV transaction with a
                       private entity introduced by IXA that results in a change of control. This
                       compensation will be in the form of Series B preferred shares and calculated
                       using the post-merger capitalization table.

                       3)     Compensation. To be paid on closing of a financing or MA&JV
                       advisory transaction and/or on a case-by-case basis if due to other advisory
                       work.”

Id. at p.1.

        28.    In Section I entitled “Term & Termination,” the Agreement further provided that

the “term of IXA’s employment hereunder shall extend from the date hereof through December

31, 2015 (the ‘Expiration Date’) and will be automatically renewed on a monthly basis until

canceled in writing by either party.” Id. at p.4. (emphasis added).

        29.    Additionally, pursuant to Section I, the Parties further agreed that,

               “… IXA will be entitled to the bonuses set forth above in the event that at any time
               prior to the earlier of the termination of this letter and the expiration of IXA’s
               employment hereunder a Financing is consummated and the investor and its
               affiliates is [sic] on a list of potential investors provided to the Company by IXA at
               the time of termination or expiration and IXA had made efforts that led to an
               investment on behalf of the Company with respect to such investor(s) prior to
               termination or expiration, as appropriate. Further, in the event that a Financing or
               M&A transaction is completed with an investor, on the list described above, with
               respect to which IXA had made efforts that led directly to an investment or other
               substantive effort before such termination or expiration, whichever is earlier, IXA
               will be entitled to compensation on those investors ….”

Id. at p.4 (emphasis added).

        30.    The Agreement has never been terminated by either Party and has never expired,



                                                 14
whether by a writing or otherwise.

       31.     The Agreement has been automatically renewed on a monthly basis and remains in

force at the present time.

       32.     As a further result of the introductions of Messrs. Lapidus and Kramer, on or about

August 21, 2015, the Company made an offer of employment to the Plaintiff (hereafter the

“Employment Offer”), which Mr. Grover accepted and which memorialized the terms and

conditions of the Plaintiff’s employ by NSAV. A true copy of the Employment Offer between the

Plaintiff and the Defendant is attached, restated and incorporated by reference herein as Exhibit

C.

       33.     The Company stated that its “letter [was] a formal offer to [the Plaintiff] to join Net

Savings Link as Director of Corporate Finance.” Id. at p.1. Mr. Grover was to “report directly to

Steven Baritz, CEO.” Id.

       34.     NSAV further detailed the employment offer to the Plaintiff, in pertinent part, as

follows:

               “In this role, you will work with strategic partners and new customers building new
               business avenues for Net Savings Link and its strategic partners, both in existing
               product arenas and in new directions. As such, you can provide critical insight to
               guide financing and marketing strategies, product development plans and business
               forecasts.”

Id.

       35.     The Defendant “envision[ed] three specific areas of responsibility [by Mr. Grover]:

               “Financial projects and product development actions. In this role, your financial
               experience and knowledge will apply directly to the Company’s execution in capital
               raising. This will likely transcend both Net Savings Link’s internal organization
               and strategic partners. Contributions to existing projects as well as leadership of
               new projects are expected.

               New business pursuits, especially in strategic relationships and mergers and
               acquisitions. In this role, three specific contributions are envisioned: (1) Expanding


                                                 15
                 the company’s opportunities for capital raises. Convertible debenture and equity-
                 linked capital will be a primary focus. (2) Relationships with other companies for
                 channel development. Utilizing mergers and acquisitions to bolster Net Savings
                 Link along with joint ventures and partnerships. (3) Actions to deliver further value
                 from technology and capability acquired from a company we may merge into Net
                 Savings Link later this year – Go Green LED.

                 Your involvement and engagement with partners and related development actions
                 will be key to maximizing company growth, minimizing costs and leveraging key
                 capabilities broadly. We expect this to include ongoing development and extension
                 of the company’s product roadmap and strategy, notably for lead generation tools
                 for our customers.”

Id. at pp.1-2.

        36.      Moreover, the Company provided the Plaintiff with his reporting and other

assignments, as follows:

                 “As Director of Corporate Finance, your reporting is intended to facilitate your
                 effective and efficient contributions to the Company. We anticipate that your
                 immediate and significant contributions will be primarily financial advisory work.
                 These will likely derive from your understanding of market requirements, and
                 investors liaisons. Because these actions are primarily in capital markets, your
                 primary reporting is to Steven Baritz, CEO. However, a critical part of your role
                 will be identifying new venues for the company to accelerate sales growth, utilizing
                 every element of our collective capability.”

Id. at p.2.

        37.      The Defendant indicated that the Plaintiff’s compensation would be “determined

on a monthly basis based on performance,” and that, “[u]nder our framework,” Mr. Grover would

“receive 5% of the diluted shares of NSAV [sic] payable on the closing of [the Company’s]

strategic expansion with Go Green LED,” and that he may “also receive incentive stock options

(ISOs) to purchase TBD amount shares [sic] of common stock.” Id. at p.2.

        38.      Finally, in “look[ing] to a long, productive, and enjoyable working relationship,”

the Defendant noted that “[t]his at-will employment relationship cannot be changed except in a

writing signed by an appropriate Company officer.” Id.



                                                  16
       39.     The Employment Offer and the employment relationship between Mr. Grover and

the Company has never been terminated by either Party, whether by a writing or otherwise.

       40.     The Employment Offer and the employment relationship between Mr. Grover and

the Company remains in force at the present time.

       D.      Mr. Grover Introduces Defendants Tilton and Wilton to NSAV
               And Performs Pursuant to His Employment and Under the Agreements

       41.     Beginning in or about August 2015 and thereafter in the succeeding months, the

Plaintiff promptly began making substantial efforts in financial projects and product development

actions on behalf of the Defendant. In his position as Director of Corporate Finance, Mr. Grover

quickly applied his financial experience and knowledge directly to the Company’s execution in

capital raising. The Plaintiff began making significant contributions to existing NSAV projects

and provided leadership of new projects in the queue at the Company.

       42.     Furthermore, the Plaintiff engaged in multiple communications and introductions

as to new business pursuits, including strategic relationships and potential M&A transactions with

other companies or investors. Mr. Grover actively expanded the Company’s opportunities for

capital raises, including considering and engaging in various possible transaction structures,

including convertible debenture and equity-linked capital. These activities enhanced the

Company’s opportunities for maximizing growth and ongoing development.

       43.     During this time period, the Plaintiff created numerous relationships between

NSAV and other companies for channel development, thereby bolstering Net Savings Link, Inc.’s

presence and profile for potential joint ventures and partnerships. Mr. Grover delivered significant

value based on his background and expertise in telecom and infrastructure technology, thereby

extending the Company’s roadmap.

       44.     For several months, the Plaintiff worked on a strategy of potential M&A


                                                17
transactions, which included potential change of control and/or a reverse merger with other

strategic partners. Mr. Grover leveraged his contacts and relationships acquired over the years

working on Wall Street as a financial analysist and an investment banker.

       45.     In short, the Plaintiff performed and exceeded in his performance under the terms

and conditions of his employment and in accordance with the Agreement.

       46.     Beginning in or about the fall of 2015 and upon information and belief, the Plaintiff

introduced James Tilton (hereinafter “Tilton”), allegedly a senior executive or employee of the

Wilton Group in the United Kingdom, to the Company. Mr. Grover worked for months on

potential change of control and reverse merger structures, including showing Baritz and the

Defendants a variety of transactions and several deals. The Plaintiff’s efforts culminated in

extended negotiations between and among Mr. Grover, Defendant NSAV, and Defendant Tilton,

acting on behalf of Defendants CHIF, Wilton-Isle of Man, Wilton-UK and the Wilton Group.

       47.     The discussions between the Plaintiff and the Defendants were lengthy and

protracted, as Mr. Grover discussed the financial structure, the requirement of “cleaning up” the

Company’s past due SEC filings, in order to return to compliance under the reporting requirements

of the Securities Exchange Act of 1934, as amended, 15 U.S.C. §§ 78a, et seq. The Plaintiff

negotiated and engaged Tilton in contributing assets to NSAV, changing control, and addressing

the outstanding debts and liabilities of the business, including but not limited to the NSAV

accounting and audit requirements, and legal fees required to become SEC reporting compliant.

The Parties also discussed the preparation of a SEC Schedule 14C, which sets forth the

requirements for SEC-reporting companies whose shareholders approve an action by written

consent, such as name changes, stock splits, domicile changes, reverse mergers, corporate

reorganizations, and other events that require a shareholder consent.



                                                18
       48.     Solely as an example, on or about November 7, 2015, the Plaintiff emailed and

communicated with Tilton and Baritz regarding the prospective “cap table” and an anticipated

Schedule 14C for the anticipated transaction, and Tilton stated, in pertinent part, as follows:

               “Steven and Vik,

               I am sure we can do something with the debt. Either pay it all at once or part first
               and the rest asap. I'll let Bruce deal with that. For my part, Steven, you were worried
               about our commitment. Wilton Group's accounting and legal staff will do the 10Q
               immediately to get back to current again. For the auditing and legal, we will keep
               old friend John Malone and Bruce seems to like Conrad. We will commit in writing
               to do something with the company and put in something of substantial value. We
               will file an application with OTCQB as soon as we are qualified.

               We will formalize the deal with you and Vik to make sure you are compensated and
               protected. Again, Wilton Group is a licensed investment banker in the U.K. and
               licensed auditors, tax advisers, accountants in the UK, Ireland, Isle of Man, Dubai,
               ect. [sic] We are fully insured internationally. If we ever even attempted to not abide
               by a contract with a public company, even and especially in the U.S., this would
               put our whole international group at risk. You are in good hands with us.

               Let's start the documentation Monday, regardless of how Bruce's talk with JR goes.
               I will be available by email all weekend. However, I may not be able to reply for a
               few hours.
               Thanks.
               James”

Email Thread, dated November 7, 2015, at p.2, as attached, restated and incorporated by reference

herein as Exhibit D (emphasis added).

       49.     Solely as a further example, on or about November 7, 2015, the Plaintiff emailed

and communicated with Tilton and Baritz regarding the scope of the anticipated transaction, and

Mr. Grover responded, in pertinent part, as follows:

               “You can't get control of the vehicle (i.e., NSAV) without us knowing what's going
               in.

               That won't work.”

Email Thread (Exhibit D), at p. 1.



                                                 19
       50.     In response to this email from the Plaintiff, on or about November 7, 2015, Tilton

responded, in pertinent part, as follows:

               “Vik,

               I think I sent you the complete details of the two pension companies we own. We
               are planning a role up of some of the 90 or so mom and pop pension companies in
               the UK.

               I also told you that we may put in some of the Wilton companies that are related to
               financial services. We are building a financial services company, not only a pension
               company. All of our companies are audited according to UK GAAP, which is
               similar to US GAAP. Of course, John Malone will have to consolidate with NSAV,
               but as Steven said, we have until the end of February or the middle of March with
               the extension for the 10K.

               Hope the above helps.

               Thanks.
               James”

Email Thread (Exhibit D), at p. 1 (emphasis added).

       51.     Thereafter, on or about November 7, 2015, the Plaintiff emailed and communicated

with Tilton and Baritz regarding the scope of the anticipated transaction, and Mr. Grover

responded, in pertinent part, as follows:

               “Ok, can you resend please, thanks, sounds good, would like to see something
               binding though, you can't get a $5MM note and control of the vehicle without
               proper consideration, Steven and I would be sued by shareholders.”

Email Thread (Exhibit D), at p. 1 (emphasis added).

       52.     On or about November 7, 2015, Defendants Tilton and Wilton Group responded

and represented, in pertinent part, as follows:

               “Vik and Steven,

               I think to make these companies part of NSAV officially, they have to be audited
               by John Malone and a consolidated 8K must be filed. That is why it is good we
               have until February or March to file the 10K.



                                                  20
                I'm not sure what you mean by binding. We can have a contract and to protect you
                and Steve, it states that if after the audit something is not quite right, Wilton can
                stipulate to replace these companies with something of equal or greater value.

                Please remember, we will be spending money from day one for the 10Q, the audit,
                $ 15K to join OTC Markets QB, IR, settling the debt, ect. [sic] In addition, you
                guys will have your deal in place.

                We (Wilton Group http://www.wiltongroup.com) own these companies.
                In time we could possibly put in several other related businesses that Wilton owns.

                Two pension fund companies in England. They manage combined assets of $ 1
                billion. As I told you, they are similar to an IRA and not a 401K.

                Please see the attached documents which relate to Hartley SAS Ltd and The
                Lifetime SIPP Company.
                1. Business Plan (HSAS)
                2. Business Plan (TLSC)
                3. Summary of the background to the Lifetime SIPP
                4. Financial projections (low growth)
                5. Market Commercial report

                Thanks.
                James”

Email Thread (Exhibit E), at p. 1 (emphasis added).

        53.     In response to a further email from the Plaintiff, on or about November 8, 2015,

Tilton stated, in pertinent part, as follows:

                “Vik,

                On the conference call Friday, you mentioned the other company Charles told me
                about, HDSI and that it traded over 400,000,000 shares Friday. I went to the OTC
                Markets profile and disclosure pages. I didn't see any recent news or deals made
                with the company.

                Question, has it been sold or is it still available?

                As I mentioned, we have thousands of corporate clients at Wilton Group and at
                least a couple of hundred who might be right for a U.S. listing.
                Let me know.

                Thanks.
                James”


                                                   21
Email Thread (Exhibit F), at p. 2 (emphasis added).

        54.     On or about November 8, 2015, the Plaintiff emailed and communicated with Tilton

and Baritz regarding the scope of the anticipated transaction, and Mr. Grover responded, in

pertinent part, as follows:

                “No its under contract see CMGO news

                For NSAV we need to have info on what you're putting in asap so we can paper
                this up”

Email Thread (Exhibit F), at p. 2 (emphasis added).

        55.     In response to this email from the Plaintiff, on or about November 8, 2015, Tilton

stated, in pertinent part, as follows:

                “Vik,

                I thought I sent you the pension info again yesterday and also to Steven, who said
                he'd review it. Besides those two companies, I mentioned other subsidiaries of our
                group that could go in. That will all happen in time.

                In the same email I gave you my idea how to do the contract. Briefly again, Malone
                and Bailey will have to audit the two pension companies for a consolidated 8K.
                That will cost a lot of money as they are in the U.K. No problem, we expected that
                to be an expense. I can't justify that much money until after the deal is done.

                As I said yesterday, if after the audit is done on the pension companies and if
                something is amiss, we guaranty to replace it with something of equal or greater
                value. The above is the easy part. What's difficult is knowing how long FINRA (if
                ever) takes to approve the reverse. Then there is the debt. If any investor (non-
                affiliate) we know buys say $ 50K of the debt, they will insist that the share increase
                goes ahead. At the same time we must tie up the remaining debt ($130K? or so), so
                the old lenders don't convert and as you guys said, flood the market with shares.

                Question, I have never been involved in anything remotely connected to a sub-
                penny deal. What I do know, from my own experience, is that some brokerage firms
                won't take, clear, allow you to by [sic] or sell many of these lower priced stocks.
                We had the same problem with Fidelity with a stock which was many times more
                than a penny. When our investor buys the debt, he will certainly ask these questions.
                As Steven mentioned some shares were recently sold, I take that as an indication
                that there are firms who will clear and allow one to sell NSAV shares that come in


                                                  22
               the form of a certificate with no restrictive legend on it.

               In addition, I don't know if HDSI and NSAV are in the course of your regular
               business or they just come along once an awhile. I say that because we have an
               endless supply of clients that can go to OTCQB, QX or Nasdaq.

               Hope the above helps and tell me what else you need to start the paperwork.
               Thanks.
               James”

Email Thread (Exhibit F), at p. 1 (emphasis added).

       56.     Thereafter, on or about November 8, 2015, the Plaintiff emailed and communicated

with Tilton and Baritz regarding the scope of the anticipated transaction, and Mr. Grover

responded, in pertinent part, as follows:

               “Ok we have to have a timelien [sic] to understand how it all goes down and there
               would have to be two phases to the deal then, phase I is Steven assigned you control
               and we are protected each on the 2%, and we agree based on unaudited numbers,
               but there has to be some transaction to justify step two which would be the $5MM
               note for 50BN shares etc. I suppose that could work.

               Steven what are your thoughts?

               But in any event we can't just give control without some sort of timeline and
               understanding of what goes in, subject to closing adjustments.

               Vik”

Email Thread (Exhibit G), at p. 1 (emphasis added).

       57.     In response to this email from the Plaintiff, on or about November 8, 2015, Tilton

acknowledged that the Parties had “[a]greed,” and stated, “[l]et’s agree that it will be the 2 pension

companies.” Additionally, Tilton wrote, “Again, I am happy to put in a clause that if something is

amiss after the audit or for some reason (it will never happen) it can't be audited, we guaranty to

replace them with another business or company of the same or greater value. Id. (Exhibit H).

       58.     In sum, on or about November 8, 2015, Tilton stated, in pertinent part, as follows:




                                                 23
                “Vik,

                Agreed.

                Let's agree that it will be the 2 pension companies. You have all their info. The
                timeline is slightly tricky. We have the consolidated audit from Malone and Bailey.
                I can't imagine it wouldn't be finished by the time the 10K is due at the end of
                February or mid-March with the extension.

                Then, there is the issue of the debt. As Bruce knows this firm and does business
                with them, it should be okay and it surely will be well before the 10K is due.

                Finally, the reverse. We plan to get this on OTCQB as soon as the audit is done.
                Even in the cleanest of circumstances, FINRA does what they like. All of that said,
                we can use the 10K (with extension) as the date for the audit of the two pension
                companies.

                Again, I am happy to put in a clause that if something is amiss after the audit or for
                some reason (it will never happen) it can't be audited, we guaranty to replace them
                with another business or company of the same or greater value.

                Those are the basics. I leave it to you to come up with something suitable to all.
                Please remember one thing guys, we have to be protected too. From day one, we
                and our non-affiliated investors are spending tens of thousands of dollars or
                committing to.

                Thanks.
                James”

Email Thread (Exhibit H), at p. 1 (emphasis added).

        59.     On or about November 8, 2015, the Plaintiff emailed and responded to Tilton and

Baritz, stating, in pertinent part, as follows:

                “As for a reverse stock split, that will be up to you guys to do in 2016, obviously
                needs to be done but should be done with some sort of event like an institutional
                raise and uplist”

Email Thread (Exhibit H), at p. 1 (emphasis added).

        60.     On or about November 9, 2015 and after Defendant Tilton inquired as to what was

“need[ed] to push this along,” the Plaintiff responded, “Yes tell us exactly what you are putting




                                                  24
into NSAV in return for control of the vehicle [i.e., NSAV] as I outlined in the cap table.” Email

Thread (Exhibit I), at p. 1 (emphasis added).

       61.     Defendant Tilton, on behalf of himself and Defendants Does and Wilton Group,

asserted that, while they “don’t mind putting in the time, but I need to know where we stand? I’m

part of a big group with a long track record of success. We are not KBM [i.e. PowerUp] for sure.

In addition, we will be spending hard cash from day one.” Email Thread (Exhibit J), at p. 1

(emphasis added).

       62.     Later that day, on or about November 9, 2015, Defendants Tilton and Wilton Group

provided a follow-up email to the Plaintiff, stating, in pertinent part:

               “Vik,

               Spoke to JR and we are still at the $ 180K figure including the warrants. He did
               indicate he is willing to deal and asked me for a counter number. I told him I'd get
               back to him. See what you can get him down to including the warrants, meaning if
               he will go down below $ 180K if we pay them all at once.

               One thing we all agreed on, it makes no sense to pay part. It's all or nothing. The
               only other issue is the buyer of the debt has to be a none affiliate.

               Let's do the deal as we discussed. I can't even think of paying the debt before I have
               control and certain that this company will get past FINRA and OTCQB will accept
               us. With the other financial service businesses in Wilton, I was told we qualify for
               Nasdaq small cap.

               Off to bed now. Please come up with something and we can go further tomorrow.

               Thanks.

               Cheers.
               James”

Email Thread (Exhibit K), at p. 1 (emphasis added).

       63.     On or about November 10, 2015, the Plaintiff responded to Tilton and Baritz,

emailing, in pertinent part, as follows:



                                                  25
                “There needs to be two documents, 1) a strategic expansion agreement where
                Steven transfers control of the company to you in the Series A and whereby we are
                issued out B and common shares for what will become 2% each post merger, and
                2) an APA or stock purchase agreement to merge your business(es) into NSAV to
                get the 90/10 control outlined in the cap table (which does not include stock options
                which will boost you guys to 92-93% pre-financing).

                Simultaneous to (1) you exercise an agreement to buy the KBM / Asher debt for
                $180K. That can close on phase (2) but would also be a binding contract.

                He cannot just give you control without all of this agreed to. There can be some
                closing adjustment on (2) based on working capital, audit, or other.”

Email Thread (Exhibit K), at p. 1 (emphasis added).

        64.     Later in that day, on or about November 10, 2015, Defendants Tilton provided a

one (1) word reply email to the Plaintiff, and said, “Agreed.” Email Thread (Exhibit L), at p.1.

        65.     On or about November 12, 2015, Mr. Grover emailed the Defendants and asked,

                “Can we get an update on your interest and timeline tomorrow? I believe Steven
                wants to get proposals in by Friday so he can make an informed decision with his
                Board by Monday.”

Email Thread (Exhibit M), at p. 1.

        66.     Later that day, on or about November 12, 2015, Defendants Tilton sent a reply

email to the Plaintiff, in pertinent part, as follows:

                “Vik,

                We are ready to sign now. As soon as we sign, I will do the 10Q, either with your
                CPA or our accounting department in London. I will also discuss the consolidated
                8K with Malone and Bailey and work out the back fees with him, as well as with
                Conrad.

                The money to buy KBM's debt and warrants is in the bank and ready to go
                according to the schedule you sent me.

                I also wanted to discuss the IR possibilities with you.

                Steven [Baritz] has to decide if he wants to go with a worldwide group like
                ourselves or a local company, who may or may not have the funding and expertise
                to go make this work.


                                                   26
               Thanks.
               James”

Email Thread (Exhibit M), at p. 1 (emphasis added).

       67.     After additional discussion as to whether the Parties would include a Chinese

company as part of the transaction, thereafter, on or about November 12, 2015, Defendants Tilton

emailed the Plaintiff, as follows:

               “Vik,

               I didn't say no. I only said this was the first time you mentioned it. I believe you
               mentioned a phone call to the management in your timeline. Please review your
               timeline again.

               Step 2 is when the company officially goes inside and the loan must be paid.

               Maybe we can do a step 1 that allows me to get this thing cleaned up and spend
               money, but also protects Steven and you as well.

               Maybe a rescission clause (mutual?). Remember , any money we put in can't be lost
               if the deal doesn't work unless we do something wrong or misrepresent something.

               We need to close this thing before my partners lose focus.

               Thanks.

               James”

Email Thread (Exhibit N), at p. 1 (emphasis added).

       68.     Between in or about November 2015 and December 2015, the Plaintiff and the

Defendants continued to finalize the terms and conditions of the transaction between NSAV and

the Defendants. On or about December 9, 2015, the Parties attended a conference call with Bruce

Blechman (hereinafter “Mr. Blechman”) of Consultants Worldwide, LLC and hammered out the

business deal and reached an agreement.




                                                27
       69.     On or about December 10, 2015, the Plaintiff sent an email to the Defendants and

to Mr. Blechman, stating, “[g]lad we sorted things out, please send me those comments so when I

get to my desk tomorrow morning I can bang out the LOI with changes and circulate it.”

Email Thread (Exhibit O), at p. 2 (emphasis added).

       70.     In response to the Plaintiff’s email, also on or about December 10, 2015,

Defendants Tilton replied, in pertinent part, as follows:

               “Vik,

               Here are the changes, as best as I can recall. As we agreed, we must use the phrase
               best efforts, as the filings are not totally under are [sic] control, especially during
               the holidays.

               1) The August 10Q, I put January 18 instead of the 15th, since the 18th. is a Monday
               and in this business, usually the auditors work on weekends, so it gives us an extra
               couple of days.

               2) We agree to pay KBM the first payment of $ 60K within 2 weeks of the August
               10Q being filed. International wires can take only a few hours, but the banks will
               only guaranty 5 business days. Plus add our internal paperwork and transfers. In
               reality, it will only be a couple of days and not two weeks.

               3) The 10K will be filed no later than the extension date, which is March 14 (or 105
               days after the November 30 fiscal year ends).

               4) The final payment of $ 120K to KBM will be made within 30 days of the 10K
               being filed. In reality it will be much quicker.

               5) We fully expect regulatory approval for the two pension companies going into
               NSAV and Malone's audit revealing no substantial difference between our UK
               GAAP financial, however, as we agreed, a clause MUST be in that says if for
               WHATEVER reason the two pension companies can't go in NSAV, Wilton has 90
               days to put in something of equal or greater value. This is very important. This will
               NOT effect [sic] our commitment to pay KBM, pay the payable's and keep NSAV
               current.

               6) If we default on point 5, we will return control of NSAV (I guess via the preferred
               shares) within 5 business days, as long as we are paid back whatever money we
               have advanced NSAV for payable's, accounting, auditing, legal, Nevada, transfer
               agent and KBM. I know this may seem unfair, but we can't foresee what the U.K.
               regulators will decide on NSAV owning the pension companies and is U.S. GAAP


                                                 28
               and U.K. GAAP are exactly the same and we may have close to $ 300K in the deal
               by then and we can't lose it. My partners won't go for it. Don't worry, I have many
               more possible replacements for the pension companies, including possibly a
               company doing $ 50 million in revenue.

               7) Wilton reserves the right to conduct complete due diligence upon signing this
               LOI.

               8) Finally, a clause stating that Wilton own 100% of the two pension companies.

               That should do it. I think Conrad will review it even before I pay him, as he and I
               got along quite well.
               Thanks.
               James”

Email Thread (Exhibit O), at p. 1 (emphasis added).

       71.     Throughout these negotiations and discussions, the Plaintiff acted in a good faith

understanding that the Defendants would honor their express “agreements” and “guaranty,” to his

detriment.

       E.      The Defendants Circumvent Plaintiff and Buy NSAV Shares From
               Steven Baritz in a Change of Control Transaction for Defendant NSAV

       72.     In or about December 2015, the Plaintiff and Defendants NSAV, Tilton, CHIF, the

Wilton Group and the John Does, and together with then-CEO Steven Baritz, agreed to the material

terms and conditions of the contract and duly entered into the contract between and among

themselves, and as to those subsidiaries, affiliates, and/or “alter egos” and/or other entities subject

to their beneficial ownership and control, including but not limited to Defendant CHIF.

       73.     On information and belief, and unbeknownst to the Plaintiff, on or about December

31, 2015, then-CEO Baritz and the Defendants entered into an agreement, with CHIF as the

Wilton-controlled subsidiary, affiliate, “alter ego” and/or other entity subject to the beneficial

ownership and control of Defendants Tilton and/or the Wilton Group, to purchase Baritz’s block

of NSAV shares, and thereby cause a change of control.



                                                  29
       74.     In or about December 2015 and thereafter, the Defendants and Baritz did

fraudulently concealed the transaction from the Plaintiff in which Defendants Wilton Group, Tilton

and/or CHIF purchased the controlling shares of NSAV from then-CEO Baritz as majority

shareholder.

       75.     As provided by 735 ILCS § 5/13-215, Defendants NSAV, Tilton and Wilton Group

fraudulently concealed the purchase from Baritz of NSAV shares representing a controlling

interest in NSAV, and failed to timely inform or apprise the Plaintiff of the purchase of NSAV

securities or the change of control.

       76.     On or about June 17, 2016, Defendant NSAV filed a Form 8-K with the SEC,

including but not limited to Exhibit 10.1. See CHIF Form 8-K, dated June 17, 2016, as attached,

restated and incorporated by reference as Exhibit P.

       77.     In Item 1.01, entitled “Entry Into a Material Definitive Agreement,” Defendant

NSAV’s Form 8-K filing with the SEC, stated, in pertinent part, as follows:

               “On January 26, 2016, we entered into an agreement with China Food and
               Beverage Company (hereinafter ‘CHIF’) wherein it was agreed that our president,
               Steven Baritz, would transfer 5,000,000 restricted shares of Series A Preferred
               stock to CHIF or its nominee in consideration of: (1) CHIF paying certain fees to
               the Nevada Secretary of State; (2) CHIF assuming and paying certain outstanding
               obligations to third parties on our behalf; and, (3) CHIF on our behalf would fulfill
               certain outstanding obligations owed to KBM Worldwide (hereinafter "KBM" ).
               The 5,000,000 Series A Preferred Shares being transferred from Steven Baritz
               constituted 62.69% of our voting control and therefore, CHIF, or its nominee would
               assume voting control of us.”

See NSAV Form 8-K (Exhibit P), at p. 2 (emphasis added).

       78.     In Item 5.01, entitled “Changes in Control of the Registrant,” Defendant NSAV’s

Form 8-K filing with the SEC, stated, in pertinent part, as follows:

               On February 9, 2016, our former sold officer and director [sic] transferred
               5,000,000 restricted shares of Series A Preferred stock to James Tilton. Each Series



                                                30
               A Preferred share has 1,000 votes and constituted 62.69% of our voting control
               and therefore, Mr. Tilton assumed control of us.

               On February 12, 2016, our board of directors issued 25,000,000 restricted shares
               of our Series A Preferred Stock to James Tilton for funds paid by Mr. Tilton. As a
               result of the foregoing issuance, Mr. Tilton owned a total of 30,000,000 restricted
               shares of our Series A Preferred Stock an [sic] controlled 90.90% of our voting
               power.

               Mr. Tilton does not own any shares of our Common Stock.”

See NSAV Form 8-K (Exhibit P), at p. 2 (emphasis added).

       79.     In Item 5.02, entitled “Departure of Directors or Certain Officers; Election of

Directors; Appointment of Certain Officers; Compensatory Arrangements of Certain Officers,”

Defendant NSAV’s Form 8-K filing with the SEC, stated, in pertinent part, as follows:

               “On January 23, 2016, James Tilton was appointed to our board of directors.
               Thereafter Steven Baritz resigned as a director. On the same date, James Tilton
               was appointed by our board of directors to replace Steven Baritz as our president,
               principal executive officer, secretary, treasurer, principal financial officer and
               principal accounting officer. At the time of Mr. Baritz's resignation as a director
               and when he was replaced as an officer, Mr. Baritz did not have any disagreements
               with us relating to our operations, policies or practices….”

See NSAV Form 8-K (Exhibit P), at p. 2 (emphasis added).

       80.     In Exhibit 10.1 to the NSAV Form 8-K, entitled “Binding Change of Control

Agreement,” Defendant NSAV attached its binding agreement with Defendant CHIF, as an

affiliate and alter ego of Defendants Tilton, Wilton-Isle of Man, Wilton-UK and the Wilton Group,

and which set forth, at length, the details of the Defendants’ contract as to the change of control of

Defendant NSAV. See NSAV Form 8-K (Exhibit P), at pp. 14-17.

       81.     In Exhibit 10.1 to the NSAV Form 8-K, entitled “Binding Change of Control

Agreement,” Defendants NSAV, CHIF, Tilton, Wilton-Isle of Man, Wilton-UK and the Wilton

Group, together with Baritz, and in accordance with the Plaintiff’s Agreement and his employment

with Defendant NSAV, agreed as follows:


                                                 31
              “… Steven Baritz and Vikram Grover will each be issued three hundred eighty-
              seven million, five hundred thousand (387,500,000) Series B preferred shares and
              $50,000.00 in debentures paying 0% interest, convertible into 1.25% of the fully-
              diluted shares outstanding of the entity at any time for a period of 18 months from
              closing, and having an 18-month maturity ….”

See NSAV Form 8-K (Exhibit P), at p. 14 (emphasis and bold added).

       82.    In Exhibit 10.1 to the NSAV Form 8-K, entitled “Binding Change of Control

Agreement,” Defendants NSAV, CHIF, Tilton, Wilton-Isle of Man, Wilton-UK and Wilton Group,

together with Baritz, and in accordance with the Plaintiff’s Agreement and his employment with

Defendant NSAV, agreed that, “[t]his Change of Control Agreement is binding on all parties.”

See NSAV Form 8-K (Exhibit P), at p. 17 (emphasis added).

       83.    On or about September 19, 2017, Defendant NSAV updated, via OTC Markets, its

filings with the SEC, and filed an “Annual Report” for 2015 and 2016. See NSAV’s “Annual

Report,” filed with OTC Markets on or about September 19, 2017, as attached, restated and

incorporated by reference as Exhibit Q.

       84.    The Defendant’s SEC filing stated, in pertinent part, as follows:

              “3. Related Party Transactions

              The Company accrued wages for its current President and CEO at a rate of
              $120,000 per year. As of November 30, 2016 and 2015, the Company owed a total
              of $257,564 and $133,126, respectively, to the current and predecessor President
              and CEO of the Company for back due wages.

              Upon his taking over of the Company in January 2016, the Company began
              accruing $1,000 per month for office rental and supplies from its President and
              CEO. As of November 30, 2016, there is $9,000 due under this arrangement.

              During March 2015, the company issued 3,500,000 shares of Series A Preferred
              Stock to its former President and CEO in exchange for $67,000 in back due wages
              and $2,000 in a short-term note. The stock was valued at the higher of the market
              price of the common stock on the date of issue or the value of the wages and short-
              term note amount, recognizing additional compensation expense of $631,000.




                                               32
                During February 2016, the President and CEO of the Company purchased
                25,000,000 shares        of preferred stock series A for cash of $250.”

NSAV Annual Report (Exhibit Q) at pp.8-9 (emphasis added).

          85.   There can be no dispute that the purchase of the NSAV securities by Tilton and/or

CHIF from CEO Baritz, caused a change of control as to the Defendant, Net Savings Link, Inc.

          86.   There can be no dispute that upon the purchase of the NSAV securities by Tilton

and/or CHIF from CEO Baritz and the NSAV change of control, the Plaintiff had, and continues

to have, the right to not less than the greater of Three Hundred – Eighty – Seven Million – Five

Hundred Thousand (387,500,000) NSAV shares of Series B stock, convertible into freely tradeable

shares of NSAV common stock, or five (5.00%) percent of the issued shares of Defendant Net

Savings Link, Inc., as well as a $50,000.00 debenture (convertible into 1.25% of NSAV’s fully

diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five Thousand

(96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV common

stock).

          87.   There can be no dispute that the Defendants, jointly and severally, breached the

Agreement and the terms and conditions of the employment of Mr. Grover by failing to

compensate him or to issue Three Hundred – Eighty – Seven Million – Five Hundred Thousand

(387,500,000) NSAV shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock, or five (5.00%) percent of the issued shares of Defendant Net Savings Link, Inc.,

as well as $50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding

shares, or Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of

Series B stock, convertible into freely tradeable shares of NSAV common stock), as required.




                                                33
       88.     There can be no dispute that the Defendants fraudulently concealed purchase of the

NSAV securities and the change of control by Defendants Tilton and/or CHIF, as alter egos of

Defendants Wilton-Isle of Man, Wilton-UK and the Wilton Group.

       89.     There can be no dispute that the Defendants, jointly and severally, singly and in

concert, breached the Agreement with Mr. Grover by refusing and failing to issue and to deliver

Three Hundred – Eighty – Seven Million – Five Hundred Thousand (387,500,000) NSAV shares

of Series B stock, convertible into freely tradeable shares of NSAV common stock, or five (5.00%)

percent of the issued shares of Defendant Net Savings Link, Inc., as well as a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –

Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock) , as required.

       90.     There can be no dispute that the Defendants, jointly and severally, singly and in

concert, failed to compensate and pay wages to Mr. Grover by refusing and failing to issue and to

deliver Three Hundred – Eighty – Seven Million – Five Hundred Thousand (387,500,000) NSAV

shares of Series B stock, convertible into freely tradeable shares of NSAV common stock, or five

(5.00%) percent of the issued shares of Defendant Net Savings Link, Inc., as well as a $50,000.00

debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six

Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock,

convertible into freely tradeable shares of NSAV common stock) , as required.

       F.      Defendant NSAV Announces the Launch of a “Cryptocurrency Exchange”

       91.     Since the execution of the Agreement, the Binding Change of Control Agreement,

and the change of control to the benefit of the Defendants, NSAV has announced a new direction

of the Company, with a focus on blockchain and the formation of a “cryptocurrency exchange.”



                                                34
       92.     Upon information and belief, an “exchange,” is defined as

               “The term ‘exchange’ means any organization, association, or group of persons,
               whether incorporated or unincorporated, which constitutes, maintains, or provides
               a market place or facilities for bringing together purchasers and sellers of securities
               or for otherwise performing with respect to securities the functions commonly
               performed by a stock exchange as that term is generally understood, and includes
               the market place and the market facilities maintained by such exchange.”

15 U.S.C. §77c(a)(1); see also 17 C.F.R. § 240.3b-16

       93.     On or about July 25, 2017, the U.S. Securities and Exchange Commission issued

its Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The

DAO (Exchange Act Rel. No. 81207) (July 25, 2017) (the “DAO Report”). In the DAO Report,

the Commission advised that a platform that offers trading of digital assets that are securities and

operates as an “exchange,” as defined by the federal securities laws, must register with the SEC as

a national securities exchange or operate pursuant to an exemption from registration.

       94.     In the DAO Report, the SEC also indicated that under Section 3(a)(10) of the

Exchange Act, a security includes “an investment contract.” See 15 U.S.C. § 78c(a)(10). An

investment contract is an investment of money in a common enterprise with a reasonable

expectation of profits to be derived from the entrepreneurial or managerial efforts of others. See

SEC v. Howey, 328 U.S. 293, 301 (1946).

       95.     Upon information and belief, a “cryptocurrency exchange” is a digital asset trading

platform that meets the definition of an “exchange” under the federal securities laws. The digital

asset trading platform often displays a limit order book that matched the orders of multiple buyers

and sellers in digital assets, including digital assets that were investment contracts under Section

3(a)(10) of the Exchange Act and therefore securities. See, e.g., In re: Poloniex, LLC, Securities

Exchange Act of 1934 Release No. 92607 (August 9, 2021)




                                                 35
       96.    On or about July 12, 2021, Defendants NSAV and Tilton issued the following news

release and announcement:

              “NSAV ANNOUNCES AUGUST 9, 2021 LAUNCH DATE FOR ITS
              CRYPTOCURRENCY EXCHANGE Press Release | 07/09/2021

              London, England, July 12, 2021 (GLOBE NEWSWIRE) -- Net Savings Link, Inc.
              (OTC: NSAV), a cryptocurrency, blockchain and digital asset technology
              company, today announced that its Cryptocurrency Exchange will launch on
              August 9, 2021. The Company will own 100% of the exchange and it will carry the
              NSAV brand name. The project is well under way and additional details and
              updates will be announced on a weekly basis.

              The management of NSAV and its partners are pioneers in the Digital Asset and
              Blockchain industry. The team is led by NSAV Director, Mr. Yuen Wong. Mr.
              Wong is also the CEO of LABS Group Limited https://labsgroup.io, the worlds first
              end to end Blockchain powered real estate investment ecosystem and powered by
              the LABS ecosystem token through decentralized finance (DeFi) and governance.

              Mr. Wong is also a Managing Partner at Bitmart Cryptocurrency Exchange
              https://www.bitmart.com. BitMart is a premier global digital asset trading platform
              with over 2 million users worldwide and ranked among the top crypto exchanges
              on CoinMarketCap. Bitmarts platform supports over 220 cryptocurrencies and has
              a 24 hour trading volume of approximately $2 Billion.

              James Tilton, president of NSAV stated, I am thrilled that our long-awaited
              Cryptocurrency Exchange will soon become a reality. I sincerely hope that all
              NSAV shareholders are as excited as we are with todays announcement.

              NSAV's vision is the establishment of a fully integrated technology company that
              provides turnkey technological solutions to the cryptocurrency, blockchain and
              digital asset industries. Over time, the Company plans to provide a wide range of
              services such as software solutions, e-commerce, advisory services, financial
              services and information technology.”

See NSAV Press Release, dated July 12, 2021 (emphasis added), as attached, restated and

incorporated by reference herein as Exhibit R.

       97.    Further, on or about August 16, 2021, Defendant NSAV issued the following news

release and announcement:




                                                 36
NSAV ANNOUNCES PLANS TO LAUNCH DECENTRALIZED
CRYPTOCURRENCY EXCHANGE (DEX) WITHIN 45 TO 60 DAYSPress
Release | 08/16/2021

London, England, Aug. 16, 2021 (GLOBE NEWSWIRE) -- Net Savings Link, Inc.
(OTC PINK: NSAV), a cryptocurrency, blockchain and digital asset technology
company, today announced that it plans to launch a Decentralized Cryptocurrency
Exchange (DEX) and have it fully operational and trading within the next 45 to 60
days. As with its Centralized Cryptocurrency Exchange (www.nsavexchange.com),
the Company will own 100% of the exchange and it will also carry the NSAV brand
name. With the launch of its DEX, this would give NSAV two cryptocurrency
exchanges. The new management of NSAV believes that this move is the fastest
and most efficient way for the Company to have a fully operational cryptocurrency
exchange and obtain a share of the over $2 trillion global cryptocurrency market.

As previously announced, the Company anticipates having its NSAV Centralized
Cryptocurrency Exchange trading within 90 days, subject to legal, regulatory and
licensing issues. The Company’s cryptocurrency and blockchain attorney will
ensure that NSAV fully complies with regulations implemented by the U.S.
Congress and the SEC.

NSAV also announced that it is in negotiations on several Artificial Intelligence
(AI) projects. The management believes in the chemistry between blockchain and
AI and to that end, has onboarded a new Senior Vice President of Technology,
Stanley Yu, in order to bolster its technology department. Stanley has over 30 years
of senior corporate management experience. Stanley spent 10 years in senior
technical and management roles at IBM research labs and SUN Microsystems.
Stanley is also a partner at leading investment banking firm Silverbear Capital Inc.
Silverbear Capital Inc. https://www.sbcfinancialgroup.com.hk/, a leading, global
investment banking firm, will be advising NSAV on strategic matters relating to
the Company’s cryptocurrency exchanges. Silverbear will also help guide NSAV
in ensuring that its exchange is continually in compliance, given the rapidly
increasing regulatory environment in the cryptocurrency industry.

                                      ***

Stanley Yu, Senior Vice President of Technology stated, ‘I am truly pleased and
honored to be part of the NSAV team. The AI industry is growing at such a rapid
pace. According to the latest research, the global AI market is estimated at USD
62.35 billion in 2020 and is expected to reach USD 93.53 billion in 2021. The
global AI market is expected to grow at a compound annual growth rate (CAGR)
of 40.2% from 2021 to 2028 to reach USD 997.77 billion by 2028. NSAV is poised
and ready to enter the AI arena and believes this move will enhance shareholders
value.’




                                 37
               Mr. Dato’ Sri Desmond Lim, Interim CEO and Senior Vice President of
               Cryptocurrency Operations for NSAV and Silverbear Capital partner stated, ‘I am
               thrilled to welcome Stanley to the team. His presence will no doubt add weight and
               expertise to the technical side of NSAV and be of great benefit to the AI projects
               that the Company is currently working on.’

               NSAV's vision is the establishment of a fully integrated technology company that
               provides turnkey technological solutions to the cryptocurrency, blockchain and
               digital asset industries. Over time, the Company plans to provide a wide range of
               services such as software solutions, e-commerce, advisory services, financial
               services and information technology.”

See NSAV Press Release, dated August 16, 2021 (emphasis added), as attached, restated and

incorporated by reference herein as Exhibit S.

       G.      Public Trading in NSAV Shares Has Increased Volatility in Price and Volume

       98.     Between in or about 2017 and on or about February 10, 2021, the price of NSAV

shares was generally less than $0.01 / share, with limited and volatile trading. Since on or about

February 10, 2021 and with announcement of the launch of its “cryptocurrency exchange,” the

price of NSAV has had dramatic and significant swings in price, with increased, fluctuating trading

activity. Upon information and belief, on or about August 2, 2021, Defendant NSAV’s public

shares traded at a high of $0.1493 / share, and at a low price of $0.1015 / share, on trading volume

of approximately 287,500,000 shares. Upon information and belief, on or about September 3,

2021, however, NSAV’s public shares of its common stock traded at a high of only $0.0355/ share,

and at a low price of $0.030611 / share, on a trading volume of approximately 78,972,750 shares.

       99.     A party seeking a preliminary injunction or specific performance, on a preliminary

basis, must demonstrate: (1) a likelihood of success of the merits; (2) that is has no adequate

remedy at law; and (3) that he will suffer irreparable harm if he is not granted the requested relief.

       100.    A plaintiff who has a remedy in damages is not barred from bringing an action for

specific performance if the damages recoverable are the equivalent of the performance promised



                                                 38
by the contract relied upon and the court may order specific performance if practicable.

       101.    The Plaintiff contends that he has a right to specific performance, i.e., compelling

Defendant NSAV to issue him freely tradeable shares, on a temporary and preliminary basis to

avoid him being unable to obtain complete relief where in monetary damages may not be available.

Injunctive relief requiring performance of a contract may be granted where complete relief cannot

be obtained by monetary damages, or where economic damages are impossible to accurately

measure. It is within the judge’s discretion to determine if specific performance should be granted.

       102.    In sum, the Defendants breached their contracts with the Plaintiff, including but not

limited to the Consulting Agreement, Non-Circumvention Agreement and the Binding Change of

Control Agreement, and denied wages and compensation to the Plaintiff, while perpetrating a fraud

upon Mr. Grover, who suffered as a consequence. The Defendants offered and sold NSAV

securities to the Plaintiff, without ever delivering the same to Mr. Grover, and each Defendant is

liable, jointly and severally, as a “controlling person.”

       103.    Moreover, the Defendants cannot dispute their obligations arising from the

“Binding Change of Control Agreement,” as to which NSAV informed the investing public and

represented to the SEC, as an agency of the federal government and as attached to the Defendant’s

SEC Form 8-K, and as to which the Plaintiff is, and was, an intended third-party beneficiary.

       104.    At all relevant times and throughout, the Defendants have fraudulently concealed

their activities, been unjustly enriched and exploited the opportunities which arose by and through

the Plaintiff’s efforts, causing him to suffer further damages and injuries.

       105.    As a result of the fraudulent scheme of the Defendants, the Plaintiff has suffered

irreparable harm and millions of dollars in damages, and, with a volatile and fluctuating public

securities market for NSAV shares, continued lost profits and lost opportunities, to his detriment.



                                                  39
                                  VI. VIOLATIONS OF LAW

         COUNT I – SPECIFIC PERFORMANCE / INTENDED THIRD-PARTY
         BENEFICIARY OF BINDING CHANGE OF CONTROL AGREEMENT
            (as to Defendants NSAV, CHIF, Wilton Group and John Does)

       106.    The Plaintiff reasserts Paragraphs 1 through 105 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

       107.    On or about January 27, 2016, Defendants NSAV and CHIF, by and through its

CEO, Defendant Tilton, executed and entered into the “Binding Change of Control Agreement.”

       108.    As executed by Defendant Tilton, Defendant CHIF represented and identified itself

in the Binding Change of Control Agreement as a “Wilton Group affiliate” and entered into such

contract as an affiliate and “alter ego” of Wilton-Isle of Man, Wilton-UK and the Wilton Group.

       109.    In the Binding Change of Control Agreement, CHIF, as a Wilton affiliate and alter

ego, and NSAV agreed that “Steven Baritz and Vikram Grover will each be issued three hundred

eighty-seven million, five hundred thousand (387,500,000) Series B preferred shares and

$50,000.00 in debentures paying 0% interest, convertible into 1.25% of the fully-diluted shares

outstanding of the entity at any time for a period of 18 months from closing, and having an 18-

month maturity ….” See Exhibit P, at p.2 (emphasis added).

       110.    In third-party beneficiary contracts, a party (the promisor) promises to render a

certain performance not to the other party (promise), but rather to a third person (beneficiary).

       111.    Intended beneficiaries are those who, under the contract, directly benefit from

performance of the agreement.

       112.    As a matter of law, the parties to a contract must specifically intend to benefit the

alleged intended third-party beneficiary by the contract.




                                                 40
       113.    At all times relevant herein, the Plaintiff, Vikram Grover, is, and was, an intended

third-party beneficiary of the Binding Change of Control Agreement between NSAV and CHIF, a

Wilton Group affiliate and alter ego.

       114.    Pursuant to the Binding Change of Control Agreement, the Defendants are required

to cause NSAV to issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff.

       115.    As the Director of Corporate Finance, the Plaintiff performed his obligations to

under the Agreement and in accordance with his duties as an employee of NSAV, in good faith.

       116.    The Plaintiff contends that the Defendants breached the Binding Change of Control

Agreement, with the Plaintiff as an intended third-party beneficiary, as described herein.

       117.    As an intended third-party beneficiary of the Binding Change of Control

Agreement, the Plaintiff has the right to specific performance and compel the Defendants to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff.




                                                41
        118.    As a direct and proximate cause of the Defendants’ breaches of the Binding Change

of Control Agreement, and as an intended third-party beneficiary, the Plaintiff has suffered

irreparable harm, including but not limited to right to specific performance and compel the

Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred

Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares

of the common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff, and for his general, special, and consequential damages, including,

but not limited to, loss of profits, interest, and other damages, injuries, and losses, to his detriment.

                       COUNT II – BREACH OF CONTRACT-
      CONSULTING AGREEMENT AND NON-CIRCUMVENTION AGREEMENT
            (as to Defendants NSAV, CHIF, Wilton Group and John Does)

        119.    The Plaintiff reasserts Paragraphs 1 through 118 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

        120.    On or about July 28, 2015, the Plaintiff and Defendant NSAV executed the Non-

Circumvention Agreement, providing that NSAV would provide confidential and proprietary

information to Mr. Grover in order to contact and solicit third-parties and negotiate a Business

Financial Transaction.

        121.    On or about August 21, 2015, the Plaintiff and Defendant NSAV executed the

Consulting Agreement, which confirmed the understanding and agreement between Vikram P.

Grover and Net Savings Link, Inc. and its subsidiaries and affiliates, regarding the employment of

the Plaintiff by the Company as its Director, Corporate Finance.




                                                   42
       122.    Defendants CHIF, Wilton-Isle of Man, Wilton-UK, the Wilton Group and John

Does were subsidiaries, affiliates and/or “alter egos” of NSAV under the Agreement.

       123.    By the Agreement, the Parties established the “compensation framework” for the

Plaintiff’s remuneration and compensation for his services in accordance with the Agreement.

       124.    Pursuant to the Agreement on behalf of Defendant NSAV, the Plaintiff introduced

and negotiated with Defendants Tilton, CHIF, Wilton-Isle of Man, Wilton-UK and the Wilton

Group and in accordance with his employment as Director of Corporate Finance.

       125.    The Plaintiff performed his obligations under the Agreement, and in accordance

with his employment as Director of Corporate Finance, and in good faith.

       126.    Pursuant to the Consulting Agreement and at all relevant times, the Defendants are,

and were, required to compensate the Plaintiff with “5% of the Company’s fully-diluted shares

outstanding, payable on closing of a MA&JV transaction with a private entity introduced by [Mr.

Grover] that results in a change of control.

       127.    Pursuant to the Non-Circumvention Agreement, the Parties “agree[d] and

guarantee[d] that … [the Defendants] will pay a legal monetary penalty that is equal to the

commission or fee the circumvented Party should have realized in such transactions, by the

person(s) engaged on the circumvention on each occurrence, or the gross revenue realized by the

circumventing party in each instance[,] whichever is greater.

       128.    Pursuant to the Non-Circumvention Agreement, the Parties agreed that in the event

that a Party had to “commence[] legal proceedings to interpret or enforce the terms of [the Non-

Circumvention Agreement] …, the prevailing Party [would] … be entitled to recover court costs

and reasonable attorney’s fees.”




                                               43
        129.    Pursuant to the Agreement, the Plaintiff’s compensation was required to be in the

form of Series B preferred shares and calculated using the post-merger capitalization table.

        130.    Pursuant to the Non-Circumvention Agreement, a breaching Party was obligated to

pay a “penalty” which was “equal to the commission,” to wit, an additional 5% of the Series B

shares due to the Plaintiff under the Consulting Agreement.

        131.    On or about December 31, 2015, Defendants Tilton and/or CHIF, as a subsidiary,

affiliate and/or “alter ego” of Wilton-Isle of Man, Wilton-UK and/or the Wilton Group, purchased

a majority of NSAV shares from Steven Baritz, then-CEO of Defendant Net Savings Link, Inc.

        132.    Upon information and belief, Defendants Tilton and/or CHIF, as a subsidiary,

affiliate and/or “alter ego” of Wilton-Isle of Man, Wilton-UK and/or the Wilton Group, provided

Steven Baritz with consideration of $20,000.00 for the NSAV shares.

        133.    By the transaction between Defendant Tilton and then-CEO Baritz, Defendant

Tilton and/or CHIF, as a subsidiary, affiliate and/or “alter ego” of Wilton-Isle of Man, Wilton-UK

and/or the Wilton Group, thereafter owned a majority of the shares issued and outstanding of

Defendant NSAV.

        134.    By the transaction between Defendant Tilton and then-CEO Baritz, a change of

control occurred as to Defendant NSAV and thereby requiring the Defendants to compensate Mr.

Grover and issue 5% of the shares outstanding, or, in the alternative, 387,500,000 NSAV shares,

to the Plaintiff.

        135.    The Defendants fraudulently concealed and did not disclose the transaction

between Tilton and/or CHIF, as a subsidiary, affiliate and/or “alter ego” of Wilton-Isle of Man,

Wilton-UK and/or the Wilton Group, and then-CEO Baritz to Mr. Grover.




                                                44
        136.    The Plaintiff alleges that the Defendants are liable for a breach of contract. A breach

of contract is failure without excuse to perform a duty which is due under the contract.

Additionally, the interpretation of a contract is a question of law, not fact. If the wording is not

ambiguous, then the contract must be enforced according to its plain terms.

        137.    By their conduct described herein, the Defendants violated the Consulting

Agreement and the Non-Circumvention Agreement, and have breached the Agreements with the

Plaintiff.

        138.    As a direct and proximate cause of the Defendants’ breaches of the Consulting

Agreement and the Non-Circumvention Agreement, the Plaintiff has suffered irreparable harm,

including but not limited to right to specific performance and compel the Defendants to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and for his general, special, and consequential damages,

including, but not limited to, loss of profits, interest, and other damages, injuries, and losses, to his

detriment.

                           COUNT III–BREACH OF CONTRACT –
                      BINDING CHANGE OF CONTROL AGREEMENT
                (as to Defendants NSAV, CHIF, Wilton Group and John Does)

        139.    The Plaintiff reasserts Paragraphs 1 through 138 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

        140.    Defendants CHIF, Wilton-Isle of Man, Wilton-UK and the Wilton Group were

subsidiaries, affiliates and/or alter egos of NSAV under the Agreement.




                                                   45
       141.    On or about January 27, 2016, Defendants NSAV, Tilton and/or CHIF, as a

subsidiary, affiliate and/or “alter ego” of Wilton-Isle of Man, Wilton-UK and/or the Wilton Group,

executed the Binding Change of Control Agreement.

       142.    Pursuant to the Binding Change of Control Agreement, the Defendants are required

to cause NSAV to issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff.

       143.    As the Director of Corporate Finance of NSAV, the Plaintiff performed his

obligations as related to the Binding Change of Control Agreement and in accordance with his

duties as an employee of NSAV, in good faith.

       144.    The Plaintiff contends that the Defendants breached the Binding Change of Control

Agreement, as described herein.

       145.    Under the Binding Change of Control Agreement, the Defendants are obligated to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff.




                                                46
       146.    As a direct and proximate cause of the Defendants’ breaches of the Binding Change

of Control Agreement, the Plaintiff has suffered irreparable harm, including but not limited to,

right to specific performance and compel the Defendants to immediately issue and deliver Three

Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000) Series B preferred NSAV

shares, convertible into freely tradeable shares of the common stock of Defendant NSAV, and a

$50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares, or

Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B

stock, convertible into freely tradeable shares of NSAV common stock), to the Plaintiff, and for

his general, special, and consequential damages, including, but not limited general, special, and

consequential damages, including, but not limited to, loss of profits, lost opportunity, interest, and

other damages, injuries, and losses, to his detriment.

                           COUNT IV – BREACHES OF IMPLIED
                   COVENANT OF GOOD FAITH AND FAIR DEALING
                (as to Defendants NSAV, CHIF, Wilton Group and John Does)

       147.    The Plaintiff reasserts Paragraphs 1 through 146 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

       148.    It is well established in that every contract carries an implied covenant of good faith

and fair dealing whereby the parties treat each other fairly and act in good faith and no party to the

contract shall take any action to harm another party’s rights under the contract. The duty imposed

by this "implied covenant of good faith and fair dealing" pertains to bad faith in the performance

of a contract, not just in his execution or negotiation. Implicit in every contract is the requirement

on faithfulness to an agreed upon common purpose and consistency with the justified expectations

of the other party.




                                                 47
        149.    A breach of contract is the failure to perform for which legal excuse is lacking. As

a matter of law, a contract existed, which the Company breached and failed to comply with the

covenant of good faith and fair dealing. The law is clear - the Mr. Grover had a binding contract

and the Defendants have no legal basis, as a matter of law, to avoid their obligations under the

Consulting Agreement, the Non-Circumvention Agreement or under the Binding Change of

Control Agreement, or the damages, including but not limited to damages which arose as a result

from the breach of the Agreement, the Non-Circumvention Agreement and the Binding Change of

Control Agreement.

        150.    The Defendants had a duty of good faith and fair dealing in their dealings with the

Plaintiff and pursuant to the promises, contract, and statements made to the Plaintiff to induce him

to enter into the Consulting Agreement and employment, and to provide his introductions,

originations, negotiations skills and expertise to the Defendants in exchange for their promise to

compensate him in accordance with the contracts.

        151.    Under the covenant, the Defendants were obligated to good faith performance of

their obligations under the Consulting Agreement, the Non-Circumvention Agreement, and the

Binding Change of Control Agreement with the Plaintiff, and to be faithful and consistent to the

justified expectations of the Plaintiff.

        152.    As described above, the Defendants breached the implied covenant of good faith

and fair dealing with the Plaintiff.

        153.    As a direct and proximate cause of the Defendants’ breaches of the implied

covenant of good faith and fair dealing, the Plaintiff has suffered irreparable harm, including but

not limited to, right to specific performance and compel the Defendants to immediately issue and

deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000) Series B



                                                 48
preferred NSAV shares, convertible into freely tradeable shares of the common stock of Defendant

NSAV, and a $50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding

shares, or Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of

Series B stock, convertible into freely tradeable shares of NSAV common stock), to the Plaintiff,

and for his general, special, and consequential damages, including, but not limited general, special,

and consequential damages, including, but not limited to, loss of profits, lost opportunity, interest,

and other damages, injuries, and losses, to his detriment.

                             COUNT V – UNJUST ENRICHMENT
                                   (as to All Defendants)

       154.    The Plaintiff reasserts Paragraphs 1 through 153 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       155.    The Defendants illegally received benefits from the Plaintiff, as arising from their

false and fraudulent statements and misrepresentations, and without providing equivalent value

therefor.

       156.    The Defendants’ actions, courses of conduct, and omissions were wantonly,

intentionally, and maliciously conducted against the Plaintiff, to his detriment.

       157.    The Defendants have been unjustly enriched by their actions and omissions, as

described herein.

       158.    As a direct and proximate cause of the Defendants’ unjust enrichment, the Plaintiff

has suffered irreparable harm, including but not limited to, right to specific performance and

compel the Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million,

Five Hundred Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely

tradeable shares of the common stock of Defendant NSAV, and a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –


                                                 49
Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), to the Plaintiff, and for his general, special, and

consequential damages, including, but not limited general, special, and consequential damages,

including, but not limited to, loss of profits, lost opportunity, interest, and other damages, injuries,

and losses, to his detriment.

                   COUNT VI - TORTIOUS INTERFERENCE WITH
          ADVANTAGEOUS BUSINESS AND CONTRACTUAL RELATIONS -
        CONSULTING AGREEMENT / NON-CIRCUMVENTION AGREEMENT
         AND EMPLOYMENT WITH DEFENDANT NET SAVINGS LINK, INC.
             (as to Defendants Tilton, CHIF, Wilton Group and John Does)

        159.    The Plaintiff reasserts Paragraphs 1 through 158 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

        160.    At all times relevant herein, the Plaintiff had entered into the Consulting Agreement

with Defendant NSAV, as executed by then-CEO Steven Baritz, and is, and was, employed as the

Director of Corporate Finance of Defendant Net Savings Link, Inc.

        161.    The Plaintiff sought and attempted to maintain such advantageous business and

contractual relations with Defendant NSAV and to create and generate new and further business

opportunities with NSAV, in accordance with his Agreement and employment.

        162.    At all times relevant herein, the Plaintiff had advantageous business and contractual

relations with the Defendant, Net Savings Link, Inc., and its then-CEO, Steven Baritz.

        163.    At all times relevant herein and to the present date, the Defendants intentionally,

willfully and/or knowingly interfered with, and convince and encourage NSAV and its then-CEO

to discontinue their business dealings with the Plaintiff and discontinue any business relationships

between Mr. Grover and NSAV in the future.

        164.    The Defendants’ interference was intentional, malicious and/or improper in their



                                                  50
motives, means and/or course of conduct.

        165.    The Defendants’ breaches and interference with the NSAV Consulting Agreement

and Mr. Grover’s employment caused losses, damages, lost profits, and lost economic opportunity

as sustained by the Plaintiff and to his detriment, and resulted in the unjust enrichment of the

Defendants.

        166.    As a direct and proximate cause of the Defendants’ interference with the Consulting

Agreement, THE Non-Circumvention Agreement and the Plaintiff’s employment with NSAV, the

Plaintiff has suffered irreparable harm, including but not limited to, right to specific performance

and compel the Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million,

Five Hundred Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely

tradeable shares of the common stock of Defendant NSAV, and a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –

Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), to the Plaintiff, and for his general, special, and

consequential damages, including, but not limited general, special, and consequential damages,

including, but not limited to, loss of profits, lost opportunity, interest, and other damages, injuries,

and losses, to his detriment.

           COUNT VII - TORTIOUS INTERFERENCE WITH PROSPECTIVE
          ECONOMIC ADVANTAGE WITH POWERUP AND THIRD-PARTIES
                             (as to All Defendants)

        167.    The Plaintiff reasserts Paragraphs 1 through 166 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

        168.    As a matter of law, to prevail on a claim for tortious interference with prospective

economic advantage, a plaintiff must show: (1) a reasonable expectancy of entering into a valid



                                                  51
business relationship; (2) the defendant's knowledge of the expectancy; (3) an intentional and

unjustified interference by the defendant that induced or caused a breach or termination of the

expectancy; and (4) damage to the plaintiff resulting from the defendant's interference.

        169.   At all times relevant herein, the Plaintiff had prospective business and economic

advantage with Geneva Roth Remark Holdings f/k/a KBM Worldwide a/k/a PowerUp Lending

Group and other third-parties.

        170.   The Plaintiff sought and attempted to maintain such prospective business and

economic advantage with PowerUp and other third-parties, and to create and generate new and

further business opportunities, in accordance with his NSAV Agreement and employment.

        171.   At all times relevant herein and to the present date, the Defendants intentionally,

willfully and/or knowingly interfered with, the Plaintiff’s prospective business and economic

advantage with PowerUp and other third-parties, and to convince and encourage PowerUp and

third-parties to discontinue their business dealings and business relationships with Mr. Grover in

the future.

        172.   The Defendants’ interference was intentional, malicious and/or improper in their

motives, means and/or course of conduct.

        173.   The Defendants’ interference with the Plaintiff’s prospective business and

economic advantage with Geneva Roth Remark Holdings f/k/a KBM Worldwide a/k/a PowerUp

Lending Group and other third-parties caused losses, damages, lost profits, and lost economic

opportunity as sustained by the Plaintiff and to his detriment, and resulted in the unjust enrichment

of the Defendants.

        174.   As a direct and proximate cause of the Defendants’ interference with the Plaintiff’s

prospective business and economic advantage with Geneva Roth Remark Holdings f/k/a KBM



                                                 52
Worldwide a/k/a PowerUp Lending Group and other third-parties, the Plaintiff has suffered

irreparable harm, including but not limited to, right to specific performance and compel the

Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred

Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares

of the common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff, and for his general, special, and consequential damages, including,

but not limited general, special, and consequential damages, including, but not limited to, loss of

profits, lost opportunity, interest, and other damages, injuries, and losses, to his detriment.

                        COUNT VIII - ORAL CONTRACT –
                PROMISSORY ESTOPPEL / DETRIMENTAL RELIANCE
                             (as to All Defendants)

       175.    The Plaintiff reasserts Paragraphs 1 through 174 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       176.    By engaging in the conduct described herein, the Defendants breached their

promises and assurances to the Plaintiff, upon which the Plaintiff reasonably relied, to his

detriment.

       177.    By engaging in the conduct described herein, the Defendants are estopped from

denying their promises and assurances to the Plaintiff.

       178.    As a direct and proximate cause of the Defendants’ breaches of their oral promises,

by and through detrimental reliance and estoppel, the Plaintiff has suffered irreparable harm,

including but not limited to, right to specific performance and compel the Defendants to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand



                                                  53
(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff, and for his general, special, and consequential damages, including,

but not limited general, special, and consequential damages, including, but not limited to, loss of

profits, lost opportunity, interest, and other damages, injuries, and losses, to his detriment.

                                COUNT IX - FRAUD AND DECEIT
                                     (as to All Defendants)

       179.    The Plaintiff reasserts Paragraphs 1 through 178 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       180.    The actions of the Defendants described herein constitute fraud and deceit,

including but not limited to the following:

               a)         the Defendants made false representations of material facts, and/or omitted

               material facts with a duty of disclosure, knowing or having reason to know of their

               falsity;

               b)         the Defendants made said misrepresentations and omissions for the purpose

               of inducing reliance from the Plaintiff; and

               c)         the Plaintiff did rely upon said misrepresentations and omissions, to his

               detriment.

       181.    As a direct and proximate cause of the Defendants’ fraud and deceit, the Plaintiff

has suffered irreparable harm, including but not limited to, right to specific performance and

compel the Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million,

Five Hundred Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely


                                                   54
tradeable shares of the common stock of Defendant NSAV, and a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –

Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), to the Plaintiff, and for his general, special, and

consequential damages, including, but not limited general, special, and consequential damages,

including, but not limited to, loss of profits, lost opportunity, interest, and other damages, injuries,

and losses, to his detriment.

                     COUNT X - NEGLIGENT MISREPRESENTATION
                                 (as to All Defendants)

        182.    The Plaintiff reasserts Paragraphs 1 through 181 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

        183.    The conduct of the Defendants as described herein constitutes negligent

misrepresentation in that the Defendants negligently provided the Plaintiff with erroneous and

misleading information, and negligently omitted material information with a duty to disclose, to

the Plaintiff’s detriment.

        184.    As a direct and proximate cause of the Defendants’ negligent misrepresentations,

the Plaintiff has suffered irreparable harm, including but not limited to, right to specific

performance and compel the Defendants to immediately issue and deliver Three Hundred Eighty-

Seven Million, Five Hundred Thousand (387,500,000) Series B preferred NSAV shares,

convertible into freely tradeable shares of the common stock of Defendant NSAV, and a

$50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares, or

Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B

stock, convertible into freely tradeable shares of NSAV common stock), to the Plaintiff, and for

his general, special, and consequential damages, including, but not limited general, special, and


                                                  55
consequential damages, including, but not limited to, loss of profits, lost opportunity, interest, and

other damages, injuries, and losses, to his detriment.

       COUNT XI – VIOLATIONS OF ILLINOIS WAGE ACT/ 820 ILCS §§ 115/1.
                           (as to All Defendants)

       185.    The Plaintiff reasserts Paragraphs 1 through 184 of the Complaint, together with

Exhibits, and restates and incorporates them herein by reference.

       186.    The Illinois Wage Payment and Collection Act (“IWPCA” or the “Act”), codified

under 820 ILCS §§ 115/, applies to all employers and employees in the State of Illinois. 820 ILCS

§§115/1, et seq.

       187.    Under the IWPCA, an “employer” includes “any individual, partnership,

association, corporation, limited liability company, business trust, employment and labor

placement agencies[] … or any person or group of persons acting directly or indirectly in the

interest of an employer in relation to an employee, for which one or more persons is gainfully

employed.” 820 ILCS §§115/2.

       188.    Under the IWPCA, employees who seek wage related claims are entitled to recover

through a claim filed in a civil action. 820 ILCS §§115/14(a).

       189.    Under the IWPCA, the Plaintiff is entitled to “the amount of any such

underpayments and damages of 5% of the amount of any such underpayments for each month

following the date of payment during which such underpayments remain unpaid.” 820 ILCS

§§115/14(a).

       190.    Liability under IWPCA extends to any officers of a corporation or agents of an

employer, who knowingly permit such employer to violate the provisions of the Act and such

Defendants will be treated as “employers” of the employee. 820 ILCS §§115/13.

       191.    In a civil action under the IWPCA, employees may also recover costs and all


                                                 56
reasonable attorney’s fees. 820 ILCS §§115/13.

        192.    At all times relevant hereto, Defendant NSAV is, and was, an “employer” of the

Plaintiff, Vikram Grover.

        193.    At all times relevant hereto, Defendant NSAV, by and through its then-CEO,

Steven Baritz, delivered the Employment Offer to Mr. Grover, and made an offer of employment

to the Plaintiff.

        194.    At all times relevant hereto, the Plaintiff accepted the Employment Offer, as

delivered by then-CEO Steven Baritz of Defendant NSAV.

        195.    At all times relevant hereto, the Plaintiff is, and was, an employee of Defendant

NSAV and is, and was, employed as the Director of Corporate Finance.

        196.    At all times relevant hereto, Defendant Tilton was an officer and authorized agent

of Defendant NSAV, as the employer and is liable, jointly and severally, to the same extent as

Defendant Net Savings Link, Inc.

        197.    At all times relevant hereto, Defendants CHIF, Wilton-Isle of Man, Wilton-UK and

the Wilton Group are, and were, authorized agents, affiliates and “alter egos” of Defendant NSAV,

as the employer and are liable, jointly and severally, to the same extent as Defendant Net Savings

Link, Inc.

        198.    The Defendants have violated the IWPCA as referenced herein, in that inter alia,

they delayed and failed to tender and deliver the freely tradeable shares of common stock of

Defendant NSAV; failed to tender and deliver the $50,000.00 debenture, at the terms and

conditions required therein; and failed to tender and deliver the payment of wages, commissions,

severance pay, vacation and sick time pay, personal time off (“PTO”) pay, overtime and other

compensation to the Plaintiff, failed and refused to provide paid vacation time to the Plaintiff for



                                                57
non-vacation days, and refusing to honor the Agreement, the Binding Change of Control

Agreement, and the agreements to pay, inter alia, compensation, commissions, wages, severance,

bonuses and other benefits to the Plaintiff, as required by law.

       199.    As described herein, the Defendants had a contractual obligation to pay to the

Plaintiff such compensation, as was earned by Mr. Grover.

       200.    The Defendants, by their refusal to pay Plaintiff the compensation described herein,

breached their statutory obligation to pay wages and compensation to Mr. Grover, in violation of

the IWPCA, 820 ILCS §§115/ et seq.

       201.    As a direct and proximate cause of Defendants’ refusal to pay justly earned wages

and compensation in accordance with the IWPCA, the Plaintiff has suffered irreparable harm,

including but not limited to, right to specific performance and compel the Defendants to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff, and for his general, special, and consequential damages, including,

but not limited general, special, and consequential damages, including, but not limited to, loss of

profits, lost opportunity, interest, and other damages, injuries, and losses, to his detriment.

         COUNT XII - VIOLATIONS OF ILLINOIS SECURITIES LAW OF 1953
                             (as to All Defendants)

       202.    The Plaintiff reasserts Paragraphs 1 through 201 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       203.    The purpose of the Illinois Securities Law, as amended, 815 ILCS §§ 5/, et seq.,


                                                  58
(the “Securities Law”) is to protect innocent persons who might be induced to invest in speculative

enterprises over which they have little control. To effectuate the Securities Law’s goals, it should

be given a liberal construction, and courts construe the term "security" broadly.

       204.    The Illinois Securities Law makes it illegal for an entity or person to offer or sell

any security, It shall be a violation of the provisions of this Act for any person:

                                               ***
               (F) To engage in any transaction, practice or course of business in connection with
               the sale or purchase of securities which works or tends to work a fraud or deceit
               upon the purchaser or seller thereof.

               (G) To obtain money or property through the sale of securities by means of any
               untrue statement of a material fact or any omission to state a material fact necessary
               in order to make the statements made, in the light of the circumstances under which
               they are made, not misleading.

815 ILCS §§ 5/12(F) & (G).

       205.    The Securities Law provides that “every sale of a security made in violation of the

provisions of this Act shall be voidable at the election of the purchaser exercised as provided in

subsection B of this Section. 815 ILCS §§ 5/13(A).

       206.    Pursuant to Section 5/13(A) of the Securities Law, any person who shall have

participated or aided in making the sale shall be jointly and severally liable to the purchaser: 1) for

the full amount paid, together with interest from the date of payment for the securities sold at the

rate of the interest or dividend stipulated…less any income or other amounts received by the

purchaser on the securities; if the purchaser no longer owns the securities, then liability will be for

the amounts set forth in clause (1) of [the] subsection A less any amounts received by the purchaser

for or on account of the disposition of the securities. 815 ILCS §§ 5/13(A)(1) & (2).




                                                  59
        207.      The Defendants violated the Illinois Securities Law of 1953, as amended, 815

ILCS §§ 5, et seq., in that, as described herein, they offered and sold securities to the Plaintiff by

means of untrue statements of material fact.

        208.     The Defendants recklessly and intentionally misrepresented material information

and omitted disclosure of material information to the Plaintiff in connection with the offer,

purchase and sale of securities in the State of Illinois.

        209.    The Plaintiff relied upon the misrepresentations and the false, fraudulent and/or

misleading statements of the Defendants, and their omissions of material fact while having a duty

of disclosure, in connection with the offer, purchase and/or sale of NSAV securities, to his

detriment.

        210.    Pursuant to the Illinois Securities Law, as the purchaser, the Court is required to

assess costs together with the reasonable fees and expenses of the Plaintiff’s attorney against the

Defendants. 815 ILCS §§ 5/13(A).

        211.      As a direct and proximate cause of the violations of the Illinois state securities

laws by the Defendants, the Plaintiff has suffered irreparable harm, including but not limited to,

right to specific performance and compel the Defendants to immediately issue and deliver Three

Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000) Series B preferred NSAV

shares, convertible into freely tradeable shares of the common stock of Defendant NSAV, and a

$50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares, or

Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B

stock, convertible into freely tradeable shares of NSAV common stock), to the Plaintiff, and for

his general, special, and consequential damages, including, but not limited general, special, and




                                                   60
consequential damages, including, but not limited to, loss of profits, lost opportunity, interest, and

other damages, injuries, and losses, to his detriment.

                 COUNT XIII – “CONTROLLING PERSONS” LIABILITY
                  UNDER THE ILLINOIS SECURITIES LAW OF 1953
                                (as to All Defendants)

       212.    The Plaintiff reasserts Paragraphs 1 through 211 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       213.    During the relevant time period and as set forth herein, the Defendants are, and

were during the relevant time, “controlling persons” within the meaning of 815 ILSC § 5/2.4.

       214.    The Illinois Securities Law of 1953, as amended, provides, in pertinent part, as

follows:

               “’Controlling person’ means any person offering or selling a security, or group of
               persons acting in concert in the offer or sale of a security, owning beneficially (and
               in the absence of knowledge, or reasonable grounds for belief, to the contrary,
               record ownership shall for the purposes hereof be presumed to be beneficial
               ownership) either (i) 25% or more of the outstanding voting securities of the issuer
               of such security where no other person owns or controls a greater percentage of
               such securities, or (ii) such number of outstanding securities of the issuer of such
               security as would enable such person, or group of persons, to elect a majority of
               the board of directors or other managing body of such issuer. In case of
               unincorporated issuers, “controlling person” means any person offering or selling
               a security, or group of persons acting in concert in the offer or sale of a security,
               who directly or indirectly controls the activities of the issuer.

815 ILSC § 5/2.4 (emphasis added).

       215.    In addition to their direct liability, the Defendants are liable to the Plaintiff for the

conduct of NSAV, Tilton and/or CHIF, as described herein, in that:

               a)     at all times material hereto, the Defendants controlled certain individual(s)
               of the Company, in their employ and/or subject to their authority, supervision
               and/or control, respectively, directly or indirectly;

               b)     at all times material hereto and with respect to all of the transactions and
               misrepresentations described herein, such individual(s), in their employ and/or
               subject to their authority, supervision and/or control, respectively, and/or as


                                                  61
               officers, employees and/or agents of the Defendants committed acts, practices
               and/or courses of conduct which were in violation of their obligations under the
               Illinois state securities laws and the standards of the securities industry;

               c)      at all times material hereto, the Defendants failed to have policies, practices
               and/or procedures in effect, which were adequate, sufficient, necessary and/or
               appropriate in order to monitor and supervise the actions of such individual(s), as
               described herein, and adequate, sufficient, necessary and/or appropriate to prevent
               said actions, practices and/or courses of conduct from occurring and continuing to
               occur; and

               d)      at all times material hereto, the Defendants, with respect to the Plaintiff’s
               efforts and investment in NSAV, failed to properly or sufficiently implement,
               execute and/or utilize the policies, practices and/or procedures which they had in
               effect and which purportedly were intended and designed to monitor and supervise
               the actions of such individual(s), described herein and to prevent said actions from
               occurring and continuing to occur.

       216.    Pursuant to 815 ILSC §5/13, the Illinois Securities Law provides, in pertinent part,

as follows:

               “Every sale of a security made in violation of the provisions of this Act shall be
               voidable at the election of the purchaser exercised as provided in subsection B of
               this Section; and the issuer, controlling person, underwriter, dealer or other person
               by or on behalf of whom said sale was made, and each underwriter, dealer, internet
               portal, or salesperson who shall have participated or aided in any way in making
               the sale, and in case the issuer, controlling person, underwriter, dealer, or internet
               portal is a corporation or unincorporated association or organization, each of its
               officers and directors (or persons performing similar functions) who shall have
               participated or aided in making the sale, shall be jointly and severally liable to the
               purchaser….”

815 ILSC §5/13 (emphasis added).

       217.    As “controlling persons,” the Defendants are liable for the false and fraudulent

actions, practices, courses of conduct and/or omissions of those controlled persons committing a

fraud and deceit in connection with the offer, purchase and/or sale of NSAV securities, at the time

of the wrongs alleged herein and as set forth herein, within the meaning of the Illinois Securities

Law, as the Defendants had the supervision, power, authority, and influence over such controlled

persons, and exercised the same as described herein.


                                                 62
       218.    The Defendants’ control, authority, supervision and/or positions made them privy

to and provided them with knowledge, actual and/or apparent, as to the material misrepresentations

and the omissions of material facts, with a duty to disclose, as to the Plaintiff.

       219.    The Defendants, jointly and severally, singly and in concert, directly and/or

indirectly, benefitted from fees, profits, gains, interest, commissions and/or other monies, as

derived from the conduct of such individual(s), as described herein.

       220.    Pursuant to the Illinois Securities Law, as the purchaser, the Court is required to

assess costs together with the reasonable fees and expenses of the Plaintiff’s attorney against the

Defendants. 815 ILCS §§ 5/13(A).

       221.    As a direct and proximate cause of the violations by the Defendants as “controlling

persons” of the violations of the Illinois state securities laws, the Plaintiff has suffered irreparable

harm, including but not limited to, right to specific performance and compel the Defendants to

immediately issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand

(387,500,000) Series B preferred NSAV shares, convertible into freely tradeable shares of the

common stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of

NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV

common stock), to the Plaintiff, and for his general, special, and consequential damages, including,

but not limited general, special, and consequential damages, including, but not limited to, loss of

profits, lost opportunity, interest, and other damages, injuries, and losses, to his detriment.




                                                  63
              COUNT XIV - VIOLATIONS OF ILLINOIS CONSUMER FRAUD
               AND DECEPTIVE BUSINESS PRACTICES ACT / ILCS §§ 505 /
                               (as to All Defendants)

       222.    The Plaintiff reasserts Paragraphs 1 through 221 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       223.    At all relevant times herein, the Defendants conducted a trade or business, as

defined by the Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA” or “the

Act”), as codified under 815 ILCS §§ 505/ et seq.

       224.    The ICFA, codified under 815 ILCS §§ 505/, makes it illegal for any person to

engage in any deceptive or unfair act or practice in the course of commerce. 815 ILCS §§505/2.

       225.    Under the ICFA, the term "person" includes any “natural person or his legal

representative, partnership, corporation (domestic and foreign), company, trust, business entity or

association, and any agent, employee, salesman, partner, officer, director, member, stockholder,

associate, trustee or cestui que trust thereof.” 815 ILCS §§ 505/1(c).

       226.    To allege a claim for violation of the ICFA, a plaintiff must demonstrate: 1) a

deceptive act or practice by the defendant; 2) the defendant’s intent that the plaintiff rely on the

deception; 3) the occurrence of the deception in the course of conduct involving trade or

commerce; 4) actual damage to the plaintiff; and 5) proximately caused by the deception.

       227.    The ICFA grants a private right of action to anyone who suffers actual damage as

a result of a violation of the section of the ICFA outlawing, among other things, unfair methods of

competition and unfair or deceptive acts or practices. 815 ILCS §§ 505/10a

       228.    The conduct of the Defendants as described herein, constitutes unfair and deceptive

trade practices, under the ICFA, including but not limited to claims that the Defendants:




                                                 64
              a)      executed the Consulting Agreement and the Non-Circumvention

              Agreement and with full knowledge and understanding of the Defendants’

              obligations to the Plaintiff;

              b)      executed the Binding Change of Control Agreement and with full

              knowledge and understanding of the Defendants’ obligations to the Plaintiff;

              c)      fraudulently induced the Plaintiff to enter into a contract and be employed

              by Defendant NSAV and thereby breached their promises to compensate the

              Plaintiff;

              d)      fraudulently concealed from the Plaintiff the full and complete negotiations

              and transactions between and among Defendants Tilton, CHIF, Wilton-Isle of Man,

              Wilton-UK and the Wilton Group, on the one hand, and then-CEO Baritz of NSAV,

              on the other hand, including but not limited to the change of control as to NSAV in

              inducing the Plaintiff to provide his efforts, expertise and contacts to the Company;

              e)      knowingly and intentionally concealed these activities from the Plaintiff, to

              his detriment; and/or

              f)      violated the requirements, terms and conditions of existing statutes, rules

              and regulations meant for the protection of the public's health, safety or welfare.

       229.   In his claim under the ICFA claim, the Plaintiff is entitled to recover attorney’s

fees. 815 ILCS §§ 505/10a(c).

       230.   In accordance with the ICFA, the Plaintiff is entitled to, and this Honorable Court

has the discretion, to award such treble or punitive damages to Mr. Grover and against the

Defendants. 815 ILCS §§ 505/10a(a).

       231.   In accordance with the ICFA, the Plaintiff is entitled to, and this Honorable Court



                                               65
has the discretion, to award actual economic damages or any other relief which this Court deems

proper. 815 ILCS §§ 505/10a(a).

        232.    As a direct and proximate cause of the Defendants’ violations of the ICFA, the

Plaintiff has suffered irreparable harm, including but not limited to, right to specific performance

and compel the Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million,

Five Hundred Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely

tradeable shares of the common stock of Defendant NSAV, and a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –

Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), to the Plaintiff, and for his general, special, and

consequential damages, including, but not limited general, special, and consequential damages,

including, but not limited to, loss of profits, lost opportunity, interest, and other damages, injuries,

and losses, to his detriment.

                                COUNT XV - CIVIL CONSPIRACY
                                     (as to All Defendants)

        233.    The Plaintiff reasserts Paragraphs 1 through 232 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

        234.    Civil conspiracy is an intentional tort and requires proof that a defendant knowingly

and voluntarily participated in a common scheme to commit an unlawful act or a lawful act in an

unlawful manner.

        235.    The elements of a civil conspiracy under the law are: (a) a combination of two or

more persons, (b) for the purpose of accomplishing by some concerted action either an unlawful

purpose or a lawful purpose by unlawful means, (c) in the furtherance of which one of the

conspirators committed an overt tortious or unlawful act.


                                                  66
        236.    A conspiracy claim’s function is to extend tort liability from the active wrongdoer

to wrongdoers who may have only planned, assisted, or encouraged the active wrongdoer.

        237.    The Defendants, together with others, combined, conspired, acted in concert, and/or

engaged in a conspiracy by entering into an agreement with unlawful motives and/or means, and

undertook overt acts towards the ends of such conspiracy.

        238.    In order to attain of the outcome of its conspiracy, the Defendants required

coordination and actions to be taken in unison and/or in concert, together with joint tortious activity

of the other co-conspirators.

        239.    The Defendants had the particular power and/or authority at their business to force,

coerce, and/or encourage others to participate in this conspiracy and result in the dissemination of

false and fraudulent information.

        240.    As a direct and proximate cause of the Defendants’ conspiracy, the Plaintiff has

suffered irreparable harm, including but not limited to, right to specific performance and compel

the Defendants to immediately issue and deliver Three Hundred Eighty-Seven Million, Five

Hundred Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely

tradeable shares of the common stock of Defendant NSAV, and a $50,000.00 debenture

(convertible into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million –

Eight Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), to the Plaintiff, and for his general, special, and

consequential damages, including, but not limited general, special, and consequential damages,

including, but not limited to, loss of profits, lost opportunity, interest, and other damages, injuries,

and losses, to his detriment.




                                                  67
                 COUNT XVI – ACCOUNTING / CONTRUCTIVE TRUST-
                          DECLARATORY / EQUITABLE RELIEF
                (as to Defendants NSAV, CHIF, Wilton Group and John Does)

       241.    The Plaintiff reasserts Paragraphs 1 through 240 of the Complaint, together with

the Exhibits, and restates and incorporates them herein by reference.

       242.    Under the agreements, the Plaintiff had, and continue to have, the right to audit the

books and records of the Defendants, which had, and continue to have, a duty to provide an

accounting of the financial records of NSAV, CHIF and Wilton.

       243.    Under the agreements, the Defendants had, and continue to have, a duty to render

an accounting, and to hold and maintain all profits, benefits and/or proceeds in a constructive trust.

       244.    The Defendants have refused, and continue to refuse, to provide an accounting or a

constructive trust, or to provide access to the financials records to permit Mr. Grover to conduct

an audit of, inter alia, the operational and financial details and supporting documentation.

       245.    As a direct and proximate cause of Defendants’ refusal to provide an accounting, a

constructive trust or books and records access, the Plaintiff has suffered irreparable harm,

including but not limited to, right to specific performance and compel Defendants to immediately

issue and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000)

Series B preferred NSAV shares, convertible into freely tradeable shares of the common stock of

Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted

outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five Thousand

(96,875,000) shares of Series B stock, convertible into freely tradeable shares of NSAV common

stock), to the Plaintiff, and for his general, special, and consequential damages, including, but not

limited general, special, and consequential damages, including, but not limited to, loss of profits,

lost opportunity, interest, and other damages, injuries, and losses, to his detriment.



                                                 68
                                 VII. REQUESTS FOR RELIEF

       WHEREFORE, the Plaintiff, Vikram P. Grover, respectfully requests that this Honorable

Court grant him the following relief:

       A)      Order, grant and enter temporary, preliminary and permanent injunctive and

       equitable relief, and specific performance, and finding that the Plaintiff has suffered

       irreparable harm, has a likelihood of success on the merits, that the balance of hardships

       favors the Plaintiff and that it is in the public interest to grant such temporary, preliminary

       and permanent injunctive and equitable relief, and specific performance for the benefit of

       the Plaintiff, as set forth herein;

       B)      Order, grant and enter temporary, preliminary and permanent injunctive and

       equitable relief, and specific performance, compelling the Defendants to immediately issue

       and deliver Three Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000)

       Series B preferred NSAV shares, convertible into freely tradeable shares of the common

       stock of Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of NSAV’s

       fully diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

       Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of

       NSAV common stock), to the Plaintiff, Vikram P. Grover;

       C)      Order, grant and enter temporary, preliminary and permanent injunctive and

       equitable relief, and specific performance, compelling the conversion of such Series B

       shares into freely tradeable NSAV common stock, and for the structured sale by the

       Plaintiff, Vikram P. Grover, or, in the alternative, by a court-appointed receiver, of the

       Three Hundred Eighty-Seven Million, Five Hundred Thousand (387,500,000) Series B

       preferred NSAV shares, convertible into freely tradeable shares of the common stock of



                                                 69
Defendant NSAV, and a $50,000.00 debenture (convertible into 1.25% of NSAV’s fully

diluted outstanding shares, or Ninety – Six Million – Eight Hundred Seventy – Five

Thousand (96,875,000) shares of Series B stock, convertible into freely tradeable shares of

NSAV common stock), in the public securities markets for NSAV common stock, to be

paid into the Court, in order to preserve the status quo, and maintain assets for a final

Judgment for the benefit of the Plaintiff, Vikram P. Grover;

D)     Order, grant and enter temporary and preliminary attachment by trustee process,

and injunctive and equitable relief, and specific performance, compelling the transfer agent

for the Defendant, Net Savings Link, Inc., and Defendants Tilton, CHIF, Wilton-Isle of

Man, Wilton-U.K. and/or the Wilton Group, and the Parties’ respective officers, agents,

servants, employees, attorneys and other persons who are in active concert or participation

with them, and/or such other third-parties with actual notice of such Order, by personal

service or otherwise, to convey, assign, transfer and/or deliver, and facilitate and cooperate

with the conveyance, assignment, transfer and delivery of such Series B shares and for the

conversion of such securities into freely tradeable NSAV common stock, and facilitate and

cooperate with the structured sale by the Plaintiff, Vikram P. Grover, or, in the alternative,

by a court-appointed receiver, of the Three Hundred Eighty-Seven Million, Five Hundred

Thousand (387,500,000) Series B preferred NSAV shares, convertible into freely tradeable

shares of the common stock of Defendant NSAV, and a $50,000.00 debenture (convertible

into 1.25% of NSAV’s fully diluted outstanding shares, or Ninety – Six Million – Eight

Hundred Seventy – Five Thousand (96,875,000) shares of Series B stock, convertible into

freely tradeable shares of NSAV common stock), in the public securities markets for




                                         70
NSAV common stock, to be paid into the Court, in order to preserve the status quo, and

maintain assets for a final Judgment for the benefit of the Plaintiff, Vikram P. Grover;

E)     Enter a final Judgment for the Plaintiff, Vikram P. Grover, and order the

distribution and payment of the proceeds of sale of the Three Hundred Eighty-Seven

Million, Five Hundred Thousand (387,500,000) Series B preferred NSAV shares,

convertible into freely tradeable shares of the common stock of Defendant NSAV, and a

$50,000.00 debenture (convertible into 1.25% of NSAV’s fully diluted outstanding shares,

or Ninety – Six Million – Eight Hundred Seventy – Five Thousand (96,875,000) shares of

Series B stock, convertible into freely tradeable shares of NSAV common stock), in the

public securities markets for NSAV common stock, as held by the Court during the

pendency of this action, to the Plaintiff, Vikram P. Grover, for his general, special,

consequential and punitive damages, including, but not limited to, loss of profits, lost

opportunity, interest, and other and losses, with costs and attorney’s fees;

F)     Determine that the Defendants are liable, jointly and severally, for all damages,

losses, costs and attorney’s fees;

G)     Determine and award the Plaintiff, Vikram P. Grover, the actual losses sustained

by him as a result of the violations of law by the Defendants, as set forth herein;

H)     Render a judgment and decision on behalf of the Plaintiff, Vikram P. Grover, on

all Counts of the Complaint, and issue findings of fact and rulings of law, as necessary and

appropriate, that the Defendants are liable, in all respects;

I)     Order, decide, adjudge, and determine that the liability of the Defendants, is for all

losses, injuries, and damages, special, consequential, general, punitive, and/or otherwise,

and for all interest and costs, as alleged herein;



                                          71
      J)      Award the Plaintiff, Vikram P. Grover, his costs, including, but not limited to,

      filing fees, costs, and interest, his attorneys’ fees, as required to prosecute this action;

      L)      Award the Plaintiff, Vikram P. Grover, multiple, double, treble, and/or punitive

      damages in an amount to be determined;

      N)      Order declaratory relief, as appropriate and as this Court deems necessary; and/or

      O)      Any additional relief, which this Honorable Court deems just and proper.



                  THE PLAINTIFF, VIKRAM P. GROVER,
           DEMANDS A TRIAL BY JURY ON ALL COUNTS SO TRIABLE

                                      Respectfully Submitted,
                                      PLAINTIFF, Vikram P. Grover,

                                      By his Attorneys,



                                       /s/ Jeffrey R. Tone____________
                                      Jeffrey R. Tone, Esq.
                                      KATTEN & TEMPLE, LLP
                                      The Rookery Building
                                      209 South LaSalle Street, Suite 950
                                      Chicago, Illinois 60604
                                      Telephone: (312) 663-4400
                                      Facsimile: (312) 663-0900
                                      Email: jtone@kattentemple.com

OF COUNSEL:

Philip M. Giordano, Esq.
Giordano & Company, P.C.
REED & GIORDANO, P.A.
47 Winter Street, Suite 800
Boston, Massachusetts 02108-4774
Telephone: (617) 723-7755
Facsimile: (617) 723-7756
Email: pgiordano@reedgiordano.com

Dated: September 23, 2021


                                                 72
